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                  20 Civ. 06274 (LAK)
                     United States District Court

                                for the
                    Southern District of New York



                 IN RE TRANSCARE CORPORATION, ET AL.
                                                 DEBTORS,


          PATRIARCH PARTNERS AGENCY SERVICES, LLC, ET AL.

                                          DEFENDANTS-APPELLANTS,
                             —against—
          SALVATORE LAMONICA, AS CHAPTER 7 TRUSTEE OF THE JOINTLY-
         ADMINISTERED ESTATES OF TRANSCARE CORPORATION, ET AL.,

                                            PLAINTIFF-APPELLEE.



ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR
    THE SOUTHERN DISTRICT OF NEW YORK (BERNSTEIN, J.)

IN RE: TRANSCARE CORPORATION, ET AL., CASE NO. 16-10407 (SMB)
   LAMONICA V. TILTON, ET AL., ADV. PROC. NO. 18-1021 (SMB)



          APPENDIX TO BRIEF FOR THE APPELLANTS


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                                              Q1           Q1         Q1           Q2      Q2       Q2      Q3      Q3      Q3      Q4     Q4      Q4
                                      Q1-2016      Q1-2016      Q1-2016    Q2-2016    Q2-2016 Q2-2016 Q3-2016 Q3-2016 Q3-2016 Q4-2016 Q4-2016 Q4-2016                  Fcst
Amounts in 000's                       Jan-16       Feb-16      Mar-16      Apr-16    May-16   Jun-16  Jul-16  Aug-16  Sep-16  Oct-16 Nov-16 Dec-16                    2016

  Service Revenue                       2,045.2      2,920.9     4,041.3    4,095.4   4,161.2   4,301.9   4,405.2   4,513.8   4,402.3   4,507.2   4,466.9   4,542.8   48,404.0
  Other Revenues                            -            -           -          -        -         -         -         -         -         -         -         -          -
   Total Operating Revenue              2,045.2      2,920.9     4,041.3    4,095.4   4,161.2   4,301.9   4,405.2   4,513.8   4,402.3   4,507.2   4,466.9   4,542.8   48,404.0

Driver Compensation & Related             885.7      1,275.2     1,737.2    1,701.5   1,732.1   1,773.2   1,783.0   1,790.0   1,736.2   1,742.8   1,726.3   1,757.4    19,641
Benefits                                  185.5        218.2       355.8      348.3     354.5     362.5     364.6     366.0     355.4     356.8     353.5     359.8     3,981
Workers Comp                               78.2        120.7       163.2      163.2     163.2     163.2     163.2     163.2     163.2     163.2     163.2     163.2     1,831
COPY/DISPATCH'S Compensation               26.6         53.6        87.2       87.7      89.7      93.9      96.4      99.7      96.3      98.9      97.7     100.0     1,028
Fleet Maint Compensation                   96.6        165.2       254.9      247.4     252.7     264.0     271.1     279.7     270.8     278.1     274.9     280.9     2,936
Repairs & Maintenance                     117.6        178.5       207.0      208.7     213.3     223.1     229.2     236.8     229.0     235.2     232.4     237.7     2,548
Accident Costs                             75.9         79.5        82.3       83.9      84.1      84.5      85.8      86.1      85.8      87.1      87.0      87.2     1,009
Fuel, Tolls & Parking Costs                57.2         62.7        63.4       64.7      64.8      65.2      66.2      66.5      66.2      67.2      67.1      67.3       779
Medical Supplies, Rentals & Repairs        32.0         34.5        37.3       38.1      38.2      38.6      39.3      39.5      39.3      39.9      39.8      40.0       457
Communications                             10.2         14.6        20.2       20.5      20.8      21.5      22.0      22.6      22.0      22.5      22.3      22.7       242
Uniforms                                    5.4          7.7        10.6       10.7      10.9      11.3      11.5      11.8      11.5      11.8      11.7      11.9       127
Equipment                                  11.1         12.3        13.6       13.8      13.9      14.1      14.3      14.4      14.3      14.6      14.5      14.6       166
Health & Safety                             2.1          2.2         2.2        2.2       2.2       2.2       2.2       2.2       2.2       2.3       2.3       2.3        26
Licenses & Permits                          3.6          5.1         6.8        6.9       7.0       7.2       7.3       7.5       7.3       7.5       7.4       7.6        81
SUB TOTAL - COST OF SERVICE             1,587.9      2,230.0     3,041.6    2,997.6   3,047.3   3,124.3   3,156.2   3,186.0   3,099.7   3,127.9   3,100.1   3,152.5    34,851

Gross Profit                              457.3        690.9       999.7    1,097.8   1,113.8   1,177.6   1,249.0   1,327.7   1,302.6   1,379.3   1,366.8   1,390.3    13,553
GP %                                      22.4%        23.7%       24.7%      26.8%    26.8%     27.4%     28.4%     29.4%     29.6%     30.6%     30.6%     30.6%       28.0%

Administrative Staffing                   179.1        275.4       371.8      371.8    371.8     371.8     371.8     371.8     371.8     371.8     371.8     371.8      4,172
Facility Costs                             67.2        113.2       159.2      159.2    159.2     159.2     159.2     159.2     159.2     159.2     159.2     159.2      1,773
Insurance Auto/Liability                   94.0        101.5       109.0      109.0    109.0     109.0     109.0     109.0     109.0     109.0     109.0     109.0      1,286
Professional Fees                           5.8          8.3        10.8       10.8     10.8      10.8      10.8      10.8      10.8      10.8      10.8      10.8        122
All Other SG&A                             36.3         68.0        94.6       94.6     94.6      94.6      94.6      94.6      94.6      94.6      94.6      94.6      1,051
Bad Debt                                  110.1        112.3       112.3      115.2    115.2     115.2     117.1     117.1     117.1     118.9     118.9     118.9      1,388
TOTAL OPERATING EXPENSES                  492.5        678.7       857.8      860.7    860.7     860.7     862.5     862.5     862.5     864.3     864.3     864.3      9,792

EBITDA                                    (35.2)        12.2       142.0      237.1    253.2     317.0     386.5     465.2     440.1     514.9     502.5     525.9      3,761    3,460.7
                                           -1.7%         0.4%       3.5%       5.8%      6.1%      7.4%      8.8%     10.3%     10.0%     11.4%     11.2%     11.6%       7.8%
Article 9 Process                           -            -           -          -        -         -         -         -         -         -         -         -          -
Interest Expense                            -            -           -          -        -         -         -         -         -         -         -         -          -
Capital Leases                              -            -           -          -        -         -         -         -         -         -         -         -          -
Depreciation                               34.0         34.0        34.0       34.0     34.0      34.0      34.0      34.0      34.0      34.0      34.0      34.0        408
All Other                                   -            -           -          -        -         -         -         -         -         -         -         -          -
Income Tax                                  -            -           -          -        -         -         -         -         -         -         -         -          -
Subtotal                                   34.0         34.0        34.0       34.0     34.0      34.0      34.0      34.0      34.0      34.0      34.0      34.0        408

Net Income                                (69.2)       (21.8)      108.0      203.1    219.2     283.0     352.5     431.2     406.1     480.9     468.5     491.9      3,353




                                                                                        P&L
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            Amounts in 000's       Dec-15         Jan-16       Feb-16        Mar-16        Apr-16          May-16        Jun-16       Jul-16       Aug-16       Sep-16       Oct-16       Nov-16       Dec-16

Current Assets
  Cash and cash equivalents             3.6         1,333.4     1,635.0       1,766.1       2,372.8          1,959.4      2,221.1      2,466.2      2,772.0      3,048.1      3,524.2      4,057.8      7,617.2
  Patient Account Receivables       3,432.4         2,045.2     2,896.4       4,867.9       4,479.7          5,091.7      5,214.0      5,363.7      5,534.8      5,579.9      5,625.8      5,597.4      5,662.6
  Inventory                           288.9           288.9       288.9         288.9         288.9            288.9        288.9        288.9        288.9        288.9        288.9        288.9        288.9
  Prepaid and other curnt assets     (284.8)         (284.8)     (284.8)       (284.8)       (284.8)          (284.8)      (284.8)      (284.8)      (284.8)      (284.8)      (284.8)      (284.8)      (284.8)
Total Current Assets                3,440.2         3,382.7     4,535.5       6,638.2       6,856.6          7,055.2      7,439.2      7,834.0      8,311.0      8,632.1      9,154.1      9,659.4     13,283.9
Property, Plant and Equipment
  Property, Plant and Equipment     10,934.9       10,934.9     10,934.9      10,934.9      10,934.9        10,934.9      10,934.9     10,934.9     10,934.9     10,934.9     10,934.9     10,934.9     10,934.9
  Accumulated Depreciation         (10,466.6)     (10,500.6)   (10,534.6)    (10,568.6)    (10,602.6)      (10,636.6)    (10,670.6)   (10,704.6)   (10,738.6)   (10,772.6)   (10,806.6)   (10,840.6)   (10,874.6)
Property and equipment, net            468.3          434.3        400.3         366.3         332.3           298.3         264.3        230.3        196.3        162.3        128.3         94.3         60.3
  Other Assets
  Goodwill                          (5,368.4)      (5,368.4)    (5,368.4)     (5,368.4)     (5,368.4)       (5,368.4)     (5,368.4)    (5,368.4)    (5,368.4)    (5,368.4)    (5,368.4)    (5,368.4)    (5,368.4)
  Other Assets                          70.1           70.1         70.1          70.1          70.1            70.1          70.1         70.1         70.1         70.1         70.1         70.1         70.1
Total Other Assets                  (5,298.3)      (5,298.3)    (5,298.3)     (5,298.3)     (5,298.3)       (5,298.3)     (5,298.3)    (5,298.3)    (5,298.3)    (5,298.3)    (5,298.3)    (5,298.3)    (5,298.3)
Total Assets                        (1,389.8)      (1,481.3)      (362.5)     1,706.2       1,890.7          2,055.3      2,405.3      2,766.0      3,209.0      3,496.2      3,984.2      4,455.4      8,046.0


Current Operating Liabilities
Accounts payable                     2,400.3        2,378.1      2,309.0       2,286.9       2,243.8         2,188.2       2,255.2      2,263.5      2,275.3      2,156.3      2,163.4      2,166.1      2,174.3
Accrued Management Fees                  -              -            -             -             -               -             -            -            -            -            -            -            -
NYSIF Balance                            -              -            -             -             -               -             -            -            -            -            -            -            -
Accrued expenses                     1,443.3        1,443.3      1,443.3       1,443.3       1,443.3         1,443.3       1,443.3      1,443.3      1,443.3      1,443.3      1,443.3      1,443.3      1,443.3
InterCompany Balance               (31,915.4)     (31,915.4)   (31,915.4)    (31,915.4)    (31,915.4)      (31,915.4)    (31,915.4)   (31,915.4)   (31,915.4)   (31,915.4)   (31,915.4)   (31,915.4)   (31,915.4)
ABL Line                                 -              -            -             -             -               -             -            -            -            -            -            -            -
   Total Current Liabilities       (28,071.8)     (28,094.0)   (28,163.1)    (28,185.2)    (28,228.3)      (28,283.9)    (28,216.9)   (28,208.6)   (28,196.8)   (28,315.8)   (28,308.7)   (28,306.0)   (28,297.8)

Other Long Term Liabilities
Term Loan                               -               -           -             -             -                -            -            -            -            -            -            -            -
Accrued Interest on Term Debt           -               -           -             -             -                -            -            -            -            -            -            -            -
Incremental Funding                     -               -       1,209.7       3,192.4       3,216.9          3,217.9      3,217.9      3,217.9      3,217.9      3,217.9      3,217.9      3,217.9      3,217.9
Capital Lease                          46.8            46.8        46.8          46.8          46.8             46.8         46.8         46.8         46.8         46.8         46.8         46.8         46.8
Deferred Rent Payable                   -               -           -             -             -                -            -            -            -            -            -            -            -
Deferred Tax Liability                  -               -           -             -             -                -            -            -            -            -            -            -            -
Non Current Liabilitites               46.8            46.8     1,256.6       3,239.3       3,263.8          3,264.8      3,264.8      3,264.8      3,264.8      3,264.8      3,264.8      3,264.8      3,264.8
Total Liabilities                  (28,024.9)     (28,047.2)   (26,906.6)    (24,945.9)    (24,964.6)      (25,019.2)    (24,952.1)   (24,943.9)   (24,932.1)   (25,051.0)   (25,044.0)   (25,041.2)   (25,033.1)

Common Equity                      26,635.1        26,565.9    26,544.1      26,652.1      26,855.2         27,074.4     27,357.4     27,709.9     28,141.1     28,547.2     29,028.1     29,496.6     30,273.1
Total Equity                       26,635.1        26,565.9    26,544.1      26,652.1      26,855.2         27,074.4     27,357.4     27,709.9     28,141.1     28,547.2     29,028.1     29,496.6     30,273.1

Total Liabilities & Net Assets                          -               .0            .0            (.0)            .0         -            -            -            -            -            -         2,806

                                                 26,565,904
                                                (26,565,904)




                                                                                                      BS
                                                                                               A3708
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                                                       Q1-2016      Q1-2016     Q1-2016     Q2-2016      Q2-2016     Q2-2016     Q3-2016     Q3-2016     Q3-2016     Q4-2016     Q4-2016   Q4-2016     Fcst
Amounts in 000's                                        Jan-16      Feb-16      Mar-16       Apr-16      May-16       Jun-16      Jul-16     Aug-16      Sep-16       Oct-16     Nov-16    Dec-16      2016
Cash Flow
Net Income                                                 (69.2)      (48.5)      81.3       176.4        192.5       256.2       325.8       404.5       379.4        454.2      441.8      465.2     3,059.5
Total Adjustments                                                                                                                                                                                           -
 Adjustment to reconcile to net income                                                                                                                                                                      -
      Note Payable to Parent                                 -           -          -           -            -           -           -           -           -            -          -          -           -
      Non Cash Equity Infusion                               -           -          -           -            -           -           -           -           -            -          -          -           -
      Amortization of deferred financing fees                -           -          -           -            -           -           -           -           -            -          -          -           -
      Provision for doubtful accounts                        -           -          -           -            -           -           -           -           -            -          -          -           -
      Depreciation and amortization                         34.0        60.7       60.7        60.7         60.7        60.7        60.7        60.7        60.7         60.7       60.7       60.7       701.9
      Deferred rent                                          -           -          -           -            -           -           -           -           -            -          -          -           -
 Total Adjustment to reconcile to net income               (35.2)       12.2      142.0       237.1        253.2       317.0       386.5       465.2       440.1        514.9      502.5      525.9     3,761.4
 Operating Adjustments
  (Increase) Decrease in Assets
    Accounts Receivable                                  1,387.2      (851.2)   (1,971.5)     388.2        (612.0)     (122.2)     (149.7)     (171.2)      (45.0)      (46.0)      28.4      (65.2)   (2,230.2)
      Inventory                                              -           -           -          -             -           -           -           -           -           -          -          -           -
      Prepaid Expenses and Other                             -           -           -          -             -           -           -           -           -           -          -          -           -
      Other Long-Term Assets                                 -           -           -          -             -           -           -           -           -           -          -          -           -
  Total (Increase) Decrease in Assets                    1,387.2      (851.2)   (1,971.5)     388.2        (612.0)     (122.2)     (149.7)     (171.2)      (45.0)      (46.0)      28.4      (65.2)   (2,230.2)
  Increase (Decrease) In Liabilities
      A/P and Accrued Expenses                             (22.2)      (69.1)      (22.0)     (43.2)        (55.6)      67.0         8.2        11.8       (118.9)        7.1        2.7        8.2      (226.0)
      Accrued Management Fees                                -           -           -          -             -          -           -           -            -           -          -          -           -
      NYSIF Balance                                          -           -           -          -             -          -           -           -            -           -          -          -           -
      Capital Lease Obligations                              -           -           -          -             -          -           -           -            -           -          -          -           -
      InterCompany Payable                                   -           -           -          -             -          -           -           -            -           -          -          -           -
      Deferred Tax Liability                                 -           -           -          -             -          -           -           -            -           -          -          -           -
  Total Increase (Decrease) In Liabilities                 (22.2)      (69.1)      (22.0)     (43.2)        (55.6)      67.0         8.2        11.8       (118.9)        7.1        2.7        8.2      (226.0)
 Total Operating Adjustments                             1,329.8      (908.1)   (1,851.6)     582.1        (414.4)     261.8       245.0       305.8        276.2       476.0      533.7      468.9     1,305.2

 Investing Adjustments                                       -           -          -           -             -           -           -           -           -           -          -          -
  Capital Expenditures                                       -           -          -           -             -           -           -           -           -           -          -          -             -
 Total Investing Adjustments                                 -           -          -           -             -           -           -           -           -           -          -          -             -

 Financing Adjustments
   Accrued Interest                                          -           -           -          -             -          -           -           -           -            -          -          -           -
   ABL Net Borrowings                                        -           -           -          -             -          -           -           -           -            -          -          -           -
   Term Loan                                                 -           -           -          -             -          -           -           -           -            -          -          -           -
   Capital Lease                                             -           -           -          -             -          -           -           -           -            -          -          -           -
   Incremental Funding                                       -       1,209.7     1,982.7       24.5           1.0        -           -           -           -            -          -          -       3,217.9
   New Loans                                                 -           -           -          -             -          -           -           -           -            -          -          -           -
 Total Financing Adjustments                                 -       1,209.7     1,982.7       24.5           1.0        -           -           -           -            -          -          -       3,217.9
Total Cash Flow                                          1,329.8       301.7       131.1      606.6        (413.4)     261.8       245.0       305.8       276.2        476.0      533.7      468.9     4,523.1




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                                              Q1           Q1         Q1            Q2      Q2       Q2      Q3      Q3      Q3      Q4     Q4      Q4
                                      Q1-2016      Q1-2016      Q1-2016     Q2-2016    Q2-2016 Q2-2016 Q3-2016 Q3-2016 Q3-2016 Q4-2016 Q4-2016 Q4-2016                   Fcst
Amounts in 000's                       Jan-16       Feb-16      Mar-16       Apr-16    May-16   Jun-16  Jul-16  Aug-16  Sep-16  Oct-16 Nov-16 Dec-16                     2016

  Service Revenue                           -          838.9     1,959.2     1,965.0   2,030.5    2,171.3   2,243.7   2,352.2   2,240.8   2,315.5   2,275.3   2,351.1   22,743.4
  Other Revenues                            -            -           -           -        -          -         -         -         -         -         -         -          -
   Total Operating Revenue                  -          838.9     1,959.2     1,965.0   2,030.5    2,171.3   2,243.7   2,352.2   2,240.8   2,315.5   2,275.3   2,351.1   22,743.4

Driver Compensation & Related               -          451.7       939.9       909.0    939.3     1,004.4    999.4    1,007.5    959.8     952.1     935.6     966.7     10,065
Benefits                                    -           45.2       188.0       181.8    187.9       200.9    199.9      201.5    192.0     190.4     187.1     193.3      1,968
Workers Comp                                -           42.5        85.0        85.0     85.0        85.0     85.0       85.0     85.0      85.0      85.0      85.0        893
COPY/DISPATCH'S Compensation                -           25.2        58.8        58.9     60.9        65.1     67.3       70.6     67.2      69.5      68.3      70.5        682
Fleet Maint Compensation                    -           67.1       156.7       157.2    162.4       173.7    179.5      188.2    179.3     185.2     182.0     188.1      1,819
Repairs & Maintenance                       -           58.7       137.1       137.5    142.1       152.0    157.1      164.7    156.9     162.1     159.3     164.6      1,592
Accident Costs                              -            2.1         4.9         4.9      5.1         5.4      5.6        5.9      5.6       5.8       5.7       5.9          57
Fuel, Tolls & Parking Costs                 -            4.2         4.9         4.9      5.1         5.4      5.6        5.9      5.6       5.8       5.7       5.9          59
Medical Supplies, Rentals & Repairs         -            2.1         4.9         4.9      5.1         5.4      5.6        5.9      5.6       5.8       5.7       5.9          57
Communications                              -            4.2         9.8         9.8     10.2        10.9     11.2       11.8     11.2      11.6      11.4      11.8        114
Uniforms                                    -            2.2         5.0         5.0      5.2         5.6      5.8        6.0      5.7       5.9       5.8       6.0          58
Equipment                                   -            1.0         2.2         2.2      2.3         2.5      2.6        2.7      2.6       2.6       2.6       2.7          26
Health & Safety                             -            -           -           -        -           -        -          -        -         -         -         -          -
Licenses & Permits                          -            1.3         3.0         3.0      3.1         3.3      3.4        3.6      3.4       3.5       3.5       3.6          35
SUB TOTAL - COST OF SERVICE                 -          707.3     1,600.3     1,564.3   1,613.6    1,719.6   1,728.0   1,759.1   1,679.8   1,685.3   1,657.5   1,710.0    17,425

Gross Profit                                -          131.5       359.0       400.7    416.9      451.7     515.7     593.1     561.0     630.1     617.7     641.1      5,319
GP %                                  #DIV/0!          15.7%       18.3%       20.4%    20.5%      20.8%     23.0%     25.2%     25.0%     27.2%     27.1%     27.3%       23.4%

Administrative Staffing                     -           96.4       192.7       192.7    192.7      192.7     192.7     192.7     192.7     192.7     192.7     192.7      2,024
Facility Costs                              -           46.0        92.0        92.0     92.0       92.0      92.0      92.0      92.0      92.0      92.0      92.0        966
Insurance Auto/Liability                    -            7.5        15.0        15.0     15.0       15.0      15.0      15.0      15.0      15.0      15.0      15.0        158
Professional Fees                           -            2.5         5.0         5.0      5.0        5.0       5.0       5.0       5.0       5.0       5.0       5.0          53
All Other SG&A                              -           31.6        58.3        58.3     58.3       58.3      58.3      58.3      58.3      58.3      58.3      58.3        614
Bad Debt                                    -            -           -           -        -          -         -         -         -         -         -         -          -
TOTAL OPERATING EXPENSES                    -          184.0       363.0       363.0    363.0      363.0     363.0     363.0     363.0     363.0     363.0     363.0      3,814

EBITDA                                      -          (52.5)       (4.0)       37.7     53.9       88.7     152.7     230.1     198.0     267.1     254.7     278.1      1,504    3,460.7
                                      #DIV/0!           -6.3%       -0.2%       1.9%      2.7%       4.1%      6.8%      9.8%      8.8%     11.5%     11.2%     11.8%       6.6%
Article 9 Process                           -            -           -           -        -          -         -         -         -         -         -         -          -
Interest Expense                            -            -           -           -        -          -         -         -         -         -         -         -          -
Capital Leases                              -            -           -           -        -          -         -         -         -         -         -         -          -
Depreciation                                -            -           -           -        -          -         -         -         -         -         -         -          -
All Other                                   -            -           -           -        -          -         -         -         -         -         -         -          -
Income Tax                                  -            -           -           -        -          -         -         -         -         -         -         -          -
Subtotal                                    -            -           -           -        -          -         -         -         -         -         -         -          -

Net Income                                  -          (52.5)       (4.0)       37.7     53.9       88.7     152.7     230.1     198.0     267.1     254.7     278.1      1,504




                                                                                       TS - P&L
                                                                                       A3710
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            Amounts in 000's       Dec-15   Jan-16   Feb-16      Mar-16      Apr-16         May-16     Jun-16     Jul-16     Aug-16     Sep-16     Oct-16     Nov-16     Dec-16

Current Assets
  Cash and cash equivalents             -        -      100.0       100.0       596.8          100.0      201.6      280.2      418.6      583.9      817.2    1,108.1   2,769.4
  Patient Account Receivables           -        -      838.9     2,798.1     2,381.6        2,977.4    3,083.4    3,222.7    3,383.6    3,418.3    3,454.2    3,415.8   3,470.9
  Inventory                             -        -        -           -           -              -          -          -          -          -          -          -         -
  Prepaid and other curnt assets        -        -        -           -           -              -          -          -          -          -          -          -         -
Total Current Assets                    -        -      938.9     2,898.1     2,978.4        3,077.4    3,285.0    3,502.9    3,802.2    4,002.2    4,271.4    4,523.9   6,240.3
Property, Plant and Equipment
  Property, Plant and Equipment         -        -        -           -           -              -          -          -          -          -          -          -         -
  Accumulated Depreciation              -        -        -           -           -              -          -          -          -          -          -          -         -
Property and equipment, net             -        -        -           -           -              -          -          -          -          -          -          -         -
  Other Assets
  Goodwill                              -        -        -           -           -              -          -          -          -          -          -          -         -
  Other Assets                          -        -        -           -           -              -          -          -          -          -          -          -         -
Total Other Assets                      -        -        -           -           -              -          -          -          -          -          -          -         -
Total Assets                            -        -      938.9     2,898.1     2,978.4        3,077.4    3,285.0    3,502.9    3,802.2    4,002.2    4,271.4    4,523.9   6,240.3


Current Operating Liabilities
Accounts payable                        -        -        9.1        28.1        70.7          114.8      233.7      299.0      368.2      370.2      372.3      370.1     373.3
Accrued Management Fees                 -        -        -           -           -              -          -          -          -          -          -          -         -
NYSIF Balance                           -        -        -           -           -              -          -          -          -          -          -          -         -
Accrued expenses                        -        -        -           -           -              -          -          -          -          -          -          -         -
InterCompany Balance                    -        -        -           -           -              -          -          -          -          -          -          -         -
ABL Line                                -        -        -           -           -              -          -          -          -          -          -          -         -
   Total Current Liabilities            -        -        9.1        28.1        70.7          114.8      233.7      299.0      368.2      370.2      372.3      370.1     373.3

Other Long Term Liabilities
Term Loan                               -        -        -           -           -              -          -          -          -          -          -          -         -
Accrued Interest on Term Debt           -        -        -           -           -              -          -          -          -          -          -          -         -
Incremental Funding                     -        -      982.3     2,926.6     2,926.6        2,927.5    2,927.5    2,927.5    2,927.5    2,927.5    2,927.5    2,927.5   2,927.5
Capital Lease                           -        -        -           -           -              -          -          -          -          -          -          -         -
Deferred Rent Payable                   -
Deferred Tax Liability                  -
Non Current Liabilitites                -        -      982.3     2,926.6     2,926.6        2,927.5    2,927.5    2,927.5    2,927.5    2,927.5    2,927.5    2,927.5   2,927.5
Total Liabilities                       -        -      991.4     2,954.6     2,997.2        3,042.4    3,161.3    3,226.5    3,295.7    3,297.7    3,299.8    3,297.6   3,300.8

Common Equity                           -        -      (52.5)      (56.5)      (18.8)          35.0      123.7      276.4      506.5      704.4      971.6    1,226.3   1,504.4
Total Equity                            -        -      (52.5)      (56.5)      (18.8)          35.0      123.7      276.4      506.5      704.4      971.6    1,226.3   1,504.4

Total Liabilities & Net Assets          -        -        -           -           -              -          -          -          -          -          -          -       1,435




                                                                                  TS - BS
                                                                                A3711
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                                                       Q1-2016   Q1-2016     Q1-2016     Q2-2016   Q2-2016       Q2-2016     Q3-2016     Q3-2016     Q3-2016     Q4-2016     Q4-2016     Q4-2016     Fcst
Amounts in 000's                                        Jan-16   Feb-16      Mar-16       Apr-16   May-16         Jun-16      Jul-16     Aug-16      Sep-16       Oct-16     Nov-16      Dec-16      2016
Cash Flow
Net Income                                                  -       (79.2)      (30.8)      10.9        27.1        61.9       126.0       203.4       171.3        240.4      228.0        251.4     1,210.4
Total Adjustments                                                                                                                                                                                         -
 Adjustment to reconcile to net income                                                                                                                                                                    -
      Note Payable to Parent                                                                                                                                                                              -
      Non Cash Equity Infusion                                                                                                                                                                            -
      Amortization of deferred financing fees                                                                                                                                                             -
      Provision for doubtful accounts                       -         -          -           -           -           -           -           -           -            -          -            -           -
      Depreciation and amortization                         -        26.7       26.7        26.7        26.7        26.7        26.7        26.7        26.7         26.7       26.7         26.7       294.0
      Deferred rent                                         -         -          -           -           -           -           -           -           -            -          -            -           -
 Total Adjustment to reconcile to net income                -       (52.5)      (4.0)       37.7        53.9        88.7       152.7       230.1       198.0        267.1      254.7        278.1     1,504.4
 Operating Adjustments
  (Increase) Decrease in Assets
    Accounts Receivable                                     -      (838.9)   (1,959.2)     416.6       (595.8)     (106.0)     (139.3)     (160.9)      (34.7)      (35.9)      38.5        (55.2)   (3,470.9)
      Inventory                                             -         -           -          -            -           -           -           -           -           -          -            -           -
      Prepaid Expenses and Other                            -         -           -          -            -           -           -           -           -           -          -            -           -
      Other Long-Term Assets                                -         -           -          -            -           -           -           -           -           -          -            -           -
  Total (Increase) Decrease in Assets                       -      (838.9)   (1,959.2)     416.6       (595.8)     (106.0)     (139.3)     (160.9)      (34.7)      (35.9)      38.5        (55.2)   (3,470.9)
  Increase (Decrease) In Liabilities
      A/P and Accrued Expenses                              -         9.1       19.0        42.6        44.1       118.9        65.2        69.2          2.0         2.1        (2.3)        3.2       373.3
      Accrued Management Fees                                                                                                                                                                             -
      NYSIF Balance                                                                                                                                                                                       -
      Capital Lease Obligations                                                                                                                                                                           -
      InterCompany Payable                                  -         -          -           -            -           -           -           -          -            -          -            -           -
      Deferred Tax Liability                                                                                                                                                                              -
  Total Increase (Decrease) In Liabilities                  -         9.1        19.0       42.6         44.1      118.9        65.2        69.2         2.0          2.1       (2.3)         3.2       373.3
 Total Operating Adjustments                                -      (882.3)   (1,944.3)     496.8       (497.8)     101.6        78.6       138.4       165.3        233.3      290.9        226.2    (1,593.3)

 Investing Adjustments
  Capital Expenditures                                      -         -          -           -            -           -           -           -          -            -          -            -             -
 Total Investing Adjustments                                -         -          -           -            -           -           -           -          -            -          -            -             -

 Financing Adjustments
   Accrued Interest                                         -         -           -          -            -          -           -           -           -            -          -            -           -
   ABL Net Borrowings                                       -         -           -          -            -          -           -           -           -            -          -            -           -
   Term Loan                                                -         -           -          -            -          -           -           -           -            -          -            -           -
   Capital Lease                                            -         -           -          -            -          -           -           -           -            -          -            -           -
   Incremental Funding                                      -       982.3     1,944.3        -            1.0        -           -           -           -            -          -            -       2,927.5
   New Loans                                                -         -           -          -            -          -           -           -           -            -          -            -           -
 Total Financing Adjustments                                -       982.3     1,944.3        -            1.0        -           -           -           -            -          -            -       2,927.5
Total Cash Flow                                             -       100.0         -        496.8       (496.8)     101.6        78.6       138.4       165.3        233.3      290.9        226.2     1,334.3




                                                                                             TS - CF
                                                                                           A3712
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                                                   2016              2016              2016               2016              2016               2016            2016            2016            2016               2016            2016           2016
                                                  Q1-2016           Q1-2016           Q1-2016            Q2-2016           Q2-2016            Q2-2016         Q3-2016         Q3-2016         Q3-2016            Q4-2016         Q4-2016        Q4-2016
    Days Per Month                                             32                28                 29              29                   31              29              31              31                 29              31             29           31
1                                                 Jan-16            Feb-16            Mar-16             Apr-16            May-16             Jun-16           Jul-16         Aug-16          Sep-16             Oct-16          Nov-16         Dec-16
    Beginning Cash Balance                                 -               -               100.0              100.0            596.8               100.0            201.6         280.2            418.6              583.9          817.2         1,108.1
    Net Cash Flow                                          -            (882.3)         (1,944.3)             496.8           (497.8)              101.6             78.6         138.4            165.3              233.3          290.9           226.2
    Projected Ending Cash Flow                             -            (882.3)         (1,844.3)             596.8             99.0               201.6            280.2         418.6            583.9              817.2        1,108.1         1,334.3

    Minimum Cash Balance                                                100.0              100.0             100.0                 100.0          100.0            100.0          100.0            100.0             100.0           100.0          100.0

    Projected Funding Requirement                                       982.3            1,944.3             (496.8)                 1.0          (101.6)         (180.2)         (318.6)         (483.9)            (717.2)       (1,008.1)      (1,234.3)


    Term Loan A
    Opening                                                -                 -                  -               -                    -               -               -               -                  -               -              -              -
           Interest Expense
           Reclass to Deferred Interest
           Principal Repayments
           Adjustments
    Senior Bank Debt                                       -                 -                  -               -                    -               -               -               -                  -               -              -              -

    Term Loan B
    Opening                                                -                 -                  -               -                    -               -               -               -                  -               -              -              -
           Interest Expense
           Reclass to Deferred Interest
           Principal Repayments
           Adjustments
    Senior Bank Debt                                       -                 -                  -               -                    -               -               -               -                  -               -              -              -

    Term Loan D
    Opening                                                -                 -                  -               -                    -               -               -               -                  -               -              -              -
           Interest Expense
           Reclass to Deferred Interest
           Principal Repayments
           Adjustments
    Senior Bank Debt                                       -                 -                  -               -                    -               -               -               -                  -               -              -              -

    Term Loan E
    Opening                                                -                 -                  -               -                    -               -               -               -                  -               -              -              -
           Interest Expense
           Reclass to Deferred Interest
           Principal Repayments
           Adjustments
    Senior Bank Debt                                       -                 -                  -               -                    -               -               -               -                  -               -              -              -

    Term Loan F
    Opening                                                -                 -                  -               -                    -               -               -               -                  -               -              -              -
           Interest Expense
           Reclass to Deferred Interest
           Principal Repayments
           Adjustments
    Senior Bank Debt                                       -                 -                  -               -                    -               -               -               -                  -               -              -              -

    Revolving Credit A
    Opening                                                -                 -                  -               -                    -               -               -               -                  -               -              -              -
           Interest Expense
           Reclass to Deferred Interest
           Principal Repayments
           Adjustments
    Senior Bank Debt                                       -                 -                  -               -                    -               -               -               -                  -               -              -              -

    Term Loan G
    Opening                                                -                 -                  -               -                    -               -               -               -                  -               -              -              -
           Interest Expense
           Reclass to Deferred Interest
           Principal Repayments
           Adjustments
    Senior Bank Debt                                       -                 -                  -               -                    -               -               -               -                  -               -              -              -


    Total Term Loans
    Opening                                                -                 -                  -               -                    -               -               -               -                  -               -              -              -
           Interest Expense
           Reclass to Deferred Interest
           Principal Repayments
           Adjustments
    Senior Bank Debt                                       -                 -                  -               -                    -               -               -               -                  -               -              -              -




                                                                                                                         TS - DS
                                                                                                                    A3713
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Term Loan A
Opening                                   12.0%   -     -        -         -                -       -         -         -         -         -         -         -
       Interest Expense                           -     -        -         -                -       -         -         -         -         -         -         -
       Reclass to Deferred Interest
       Principal Repayments
       Adjustments
Senior Bank Debt                                  -     -        -         -                -       -         -         -         -         -         -         -

Term Loan B
Opening                                    2.5%   -     -        -         -                -       -         -         -         -         -         -         -
       Interest Expense                           -     -        -         -                -       -         -         -         -         -         -         -
       Reclass to Deferred Interest
       Principal Repayments
       Adjustments
Senior Bank Debt                                  -     -        -         -                -       -         -         -         -         -         -         -

Term Loan D
Opening                                    2.5%   -     -        -         -                -       -         -         -         -         -         -         -
       Interest Expense                           -     -        -         -                -       -         -         -         -         -         -         -
       Reclass to Deferred Interest
       Principal Repayments
       Adjustments
Senior Bank Debt                                  -     -        -         -                -       -         -         -         -         -         -         -

Term Loan E
Opening                                    2.5%   -     -        -         -                -       -         -         -         -         -         -         -
       Interest Expense                           -     -        -         -                -       -         -         -         -         -         -         -
       Reclass to Deferred Interest
       Principal Repayments
       Adjustments
Senior Bank Debt                                  -     -        -         -                -       -         -         -         -         -         -         -

Term Loan F
Opening                                    2.5%   -     -        -         -                -       -         -         -         -         -         -         -
       Interest Expense                           -     -        -         -                -       -         -         -         -         -         -         -
       Reclass to Deferred Interest
       Principal Repayments
       Adjustments
Senior Bank Debt                                  -     -        -         -                -       -         -         -         -         -         -         -

Term Loan H
Opening                                    2.5%   -     -        -         -                -       -         -         -         -         -         -         -
       Interest Expense                           -     -        -         -                -       -         -         -         -         -         -         -
       Reclass to Deferred Interest
       Principal Repayments
       Adjustments
Senior Bank Debt                                  -     -        -         -                -       -         -         -         -         -         -         -

Wells Fargo Interest
Opening                                    0.0%
       Interest Expense                           -     -        -         -                -       -         -         -         -         -         -         -
       Reclass to Deferred Interest
       Principal Repayments
       Adjustments
Senior Bank Debt                                  -     -        -         -                -       -         -         -         -         -         -         -

Total Interest on Loans Loans
Opening                                           -     -        -         -                -       -         -         -         -         -         -         -
       Total Interest Expense                     -     -        -         -                -       -         -         -         -         -         -         -

       Interest Payments
       Adjustments
Accured Interest                                  -     -        -         -                -       -         -         -         -         -         -         -

New Funding Requirement
Opening                                           -     -       982.3   2,926.6        2,926.6   2,927.5   2,927.5   2,927.5   2,927.5   2,927.5   2,927.5   2,927.5
       Funding Requests                           -   982.3   1,944.3       -              1.0       -         -         -         -         -         -         -
       Reclass to Deferred Interest
       Principal Repayments
       Adjustments
Senior Bank Debt                                  -   982.3   2,926.6   2,926.6        2,927.5   2,927.5   2,927.5   2,927.5   2,927.5   2,927.5   2,927.5   2,927.5


Borrowing Base
Net AR

Borrowing Base                                    -     -        -         -                -       -         -         -         -         -         -         -




                                                                                  TS - DS
                                                                               A3714
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                                        Q1        Q1              Q1              Q2              Q2               Q2                Q3              Q3              Q3              Q4             Q4              Q4



Grand Total
                      Bulk                   -             -                -               -               -                 -                -               -               -              -               -               -
                      Lance                  -             -                -               -               -                 -                -               -               -              -               -               -
                      Lette                  -             -                -               -               -                 -                -               -               -              -               -               -
                      Total Revenue                      838.9          1,959.2         1,965.0         2,030.5           2,171.3          2,243.7         2,352.2         2,240.8        2,315.5         2,275.3         2,351.1   22,743.4
                                                             8%              8%              8%              8%                8%               8%              8%              8%                             8%              8%
                Contract Unitilzation                     55.0%           55.0%           57.0%           57.0%             62.0%            62.0%           65.0%           65.0%     65.0%                66.0%           66.0%
                             Routes                         165             165             171             171               186              186             195             195       195                  198             198
                  Trips Per Routes                          6.3             6.3             6.3             6.3               6.4              6.4             6.4             6.3       6.3                  6.3             6.3
                                Days                         29              31              30              31                30               31              31              30        31                   30              31
                   Rev/Trips                               56.1            60.8            60.8            60.8              60.8             60.8            60.8            60.8      60.8                 60.8            60.8
                          Revenue                     1,677,741       1,959,250       1,964,995       2,030,495         2,171,290        2,243,666       2,352,230       2,240,784 2,315,477            2,275,258       2,351,100

              Service Hours Per Trip                       1.3              1.3             1.3             1.3                1.3             1.3             1.3             1.3            1.3             1.3             1.3

                      Transit Hours                        206             206             214             214                233             233             244             244            244             248             248    407,866
                      Unit Hour Costs
                                                                                                                   Cost Savings
                                                          0.0%            0.0%            0.0%            0.0%             0.0%              0.0%            0.0%            0.0%           0.0%            0.0%            0.0%
DIRECT COSTS
Driver Compensation & Related                            451.7           939.9           909.0           939.3            1,004.4           999.4          1,007.5          959.8          952.1           935.6           966.7    10,065.3
         Ambulance
                   Trips                                18,691          40,281          40,399          41,745              44,640         46,128          48,360          46,069         47,604          46,778          48,337
                   UHU                                     -               -               -               -                   -              -               -               -              -               -               -
                   Unit Hours                           18,691          40,281          40,399          41,745              44,640         46,128          48,360          46,069         47,604          46,778          48,337
                   Unit Hour Cost                 $       24.2    $       23.3    $       22.5    $       22.5     $          22.5   $       21.7    $       20.8    $       20.8    $      20.0    $       20.0    $       20.0
                   Expense                               451.7           939.9           909.0           939.3            1,004.4           999.4          1,007.5          959.8          952.1           935.6           966.7    10,065.3
                                                         53.8%           48.0%           46.3%           46.3%               46.3%          44.5%           42.8%           42.8%          41.1%           41.1%           41.1%
                                                         59.2%           57.6%           55.5%           55.5%               55.5%          53.5%           51.4%           51.4%          49.3%           49.3%           49.3%
Benefits
   20.0%          1                                       45.2           188.0           181.8           187.9               200.9          199.9           201.5           192.0          190.4           187.1           193.3     1,967.9
Workers Comp
                                                          42.5            85.0            85.0            85.0                85.0           85.0            85.0            85.0           85.0            85.0            85.0      892.5
COPY/DISPATCH'S Compensation
   3.0%     1                                             25.2            58.8            58.9            60.9                65.1           67.3            70.6            67.2           69.5            68.3            70.5      682.3
Fleet Maint Compensation
    8.0%       1                                          67.1           156.7           157.2           162.4               173.7          179.5           188.2           179.3          185.2           182.0           188.1     1,819.5
Repairs & Maintenance
   7.0%        1                                          58.7           137.1           137.5           142.1               152.0          157.1           164.7           156.9          162.1           159.3           164.6     1,592.0
Accident Costs
    0.3%       1                                           2.1              4.9             4.9             5.1                5.4             5.6             5.9             5.6            5.8             5.7             5.9      56.9




                                                                                                                  Transit
                                                                                                             A3715
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Fuel, Tolls & Parking Costs
    0.3%         1                           4.2        4.9        4.9       5.1               5.4       5.6       5.9       5.6       5.8       5.7       5.9      59.0
Medical Supplies, Rentals & Repairs
   0.3%         1                            2.1        4.9        4.9       5.1               5.4       5.6       5.9       5.6       5.8       5.7       5.9      56.9
Communications
  0.50%       1                              4.2        9.8        9.8     10.2               10.9     11.2      11.8      11.2      11.6      11.4      11.8      113.7
Uniforms
   0.26%           1                         2.2        5.0        5.0       5.2               5.6       5.8       6.0       5.7       5.9       5.8       6.0      58.3
Equipment
   0.11%           1                         1.0        2.2        2.2       2.3               2.5       2.6       2.7       2.6       2.6       2.6       2.7      25.9
Health & Safety
  0.00%         1                           -          -          -         -                  -        -         -         -         -         -         -          -
Licenses & Permits
   0.15%       1                             1.3        3.0        3.0       3.1               3.3       3.4       3.6       3.4       3.5       3.5       3.6      34.7
SUB TOTAL - COST OF SERVICE               707.3     1,600.3    1,564.3   1,613.6         1,719.6     1,728.0   1,759.1   1,679.8   1,685.3   1,657.5   1,710.0   17,424.8

Gross Profit                              131.5      359.0      400.7     416.9              451.7    515.7     593.1     561.0     630.1     617.7     641.1     5,318.6
Gross Margin                              15.7%      18.3%      20.4%     20.5%              20.8%    23.0%     25.2%     25.0%     27.2%     27.1%     27.3%      23.4%



INDIRECT COSTS
Administrative Staffing                    96.4      192.7      192.7     192.7              192.7    192.7     192.7     192.7     192.7     192.7     192.7     2,023.8
Facility Costs                             46.0       92.0       92.0      92.0               92.0     92.0      92.0      92.0      92.0      92.0      92.0       966.0
Insurance Auto/Liability                    7.5       15.0       15.0      15.0               15.0     15.0      15.0      15.0      15.0      15.0      15.0       157.5
Professional Fees                           2.5        5.0        5.0       5.0                5.0      5.0       5.0       5.0       5.0       5.0       5.0        52.5
All Other SG&A                             31.6       58.3       58.3      58.3               58.3     58.3      58.3      58.3      58.3      58.3      58.3       614.4
Bad Debt                                    -          -          -         -                  -        -         -         -         -         -         -           -
TOTAL OPERATING EXPENSES                  184.0      363.0      363.0     363.0              363.0    363.0     363.0     363.0     363.0     363.0     363.0     3,814.2

Operating EBITDA                           (52.5)      (4.0)     37.7      53.9               88.7    152.7     230.1     198.0     267.1     254.7     278.1     1,504.4
                                           -6.3%      -0.2%      1.9%      2.7%               4.1%     6.8%      9.8%      8.8%     11.5%     11.2%     11.8%       6.6%
Depreciation                               26.7       26.7       26.7      26.7               26.7     26.7      26.7      26.7      26.7      26.7      26.7      294.0

Net Income                                 (79.2)     (30.8)     10.9      27.1               61.9    126.0     203.4     171.3     240.4     228.0     251.4     1,210.4




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                                 31.5%
                                         Q1-2016     Q1-2016     Q1-2016     Q2-2016       Q2-2016       Q2-2016       Q3-2016       Q3-2016       Q3-2016       Q4-2016       Q4-2016       Q4-2016       Fcst
1                           Dec-15       Jan-16       Feb-16      Mar-16      Apr-16        May-16        Jun-16        Jul-16        Aug-16        Sep-16        Oct-16        Nov-16        Dec-16


1 Petty Cash
2       Opening Balance              -         -           -           -            -              -            -             -             -             -             -             -             -
3       Adjustments                  -         -                       -            -              -            -             -             -             -             -             -             -
4       Closing Balance              -         -           -           -            -              -            -             -             -             -             -             -             -
5
6 Accounts Receivble
     90 Days Sales                             -       838,870   2,798,120    4,763,115     5,954,740     6,166,780     6,445,451     6,767,186     6,836,680     6,908,491     6,831,518     6,941,834
     DSO                                      45.0        45.0        45.0         45.0          45.0          45.0          45.0          45.0          45.0          45.0          45.0          45.0
7       Opening Balance              -         -           -       838,870    2,798,120     2,381,558     2,977,370     3,083,390     3,222,725     3,383,593     3,418,340     3,454,246     3,415,759
        Sales                                  -       838,870   1,959,250    1,964,995     2,030,495     2,171,290     2,243,666     2,352,230     2,240,784     2,315,477     2,275,258     2,351,100
        Collections                            -           -           -     (2,381,558)   (1,434,683)   (2,065,270)   (2,104,331)   (2,191,363)   (2,206,037)   (2,279,571)   (2,313,744)   (2,295,942)
8       Adjustments
9       Closing Balance              -         -       838,870   2,798,120   2,381,558      2,977,370     3,083,390     3,222,725     3,383,593     3,418,340     3,454,246     3,415,759     3,470,917
10
11 Inventory
12       Opening Balance             -         -           -           -            -              -            -             -             -             -             -             -             -
13       Adjustments
14       Closing Balance             -         -           -           -            -              -            -             -             -             -             -             -             -
15
16 Total Prepaid Expenses
17        Opening Balance            -         -           -           -            -              -            -             -             -             -             -             -             -
18        Adjustments
19        Closing Balance            -         -           -           -            -              -            -             -             -             -             -             -             -
20
21 Total PP&E (Gross)
22        Opening Balance            -         -           -           -            -              -            -             -             -             -             -             -             -
23        Adjustments
24        Closing Balance            -         -           -           -            -              -            -             -             -             -             -             -             -
25
26 Accumulted Deprecation
27      Opening Balance              -         -           -           -            -              -            -             -             -             -             -             -             -
28      Adjustments
29      Closing Balance              -         -           -           -            -              -            -             -             -             -             -             -             -
30
31 Total Other Assets
32        Opening Balance            -         -           -           -            -              -            -             -             -             -             -             -             -
33        Adjustments
34        Closing Balance            -         -           -           -            -              -            -             -             -             -             -             -             -
35
36 Goodwill
37      Opening Balance              -         -           -           -            -              -            -             -             -             -             -             -             -
38      Adjustments
39      Closing Balance              -         -           -           -            -              -            -             -             -             -             -             -             -
40
41       Total Assets                -         -       838,870   2,798,120   2,381,558      2,977,370     3,083,390     3,222,725     3,383,593     3,418,340     3,454,246     3,415,759     3,470,917




                                                                                 Transit - BS Detail
                                                                                   A3717
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42
43 Total Capital Lease ST Obligation
44        Opening Balance                -       -        -            -            -              -           -            -            -            -            -            -            -
45        Adjustments
46        Closing Balance                -       -        -            -            -              -           -            -            -            -            -            -            -
47
48 Accounts Payable
   Non Payroll OpEx                              -    163,329      505,488      848,151     1,033,232    1,051,834    1,076,281    1,104,507    1,110,603    1,116,903    1,110,151    1,119,828
   DPO                                           -        5.0          5.0          7.5          10.0         20.0         25.0         30.0         30.0         30.0         30.0         30.0
49       Opening Balance                 -       -        -          9,074       28,083        70,679      114,804      233,741      298,967      368,169      370,201      372,301      370,050
         P&L Expense                             -    163,329      342,159      342,663       348,410      360,761      367,111      376,635      366,858      373,411      369,882      376,536
         Payments                                -   (154,255)    (323,150)    (300,067)     (304,285)    (241,824)    (301,885)    (307,433)    (364,826)    (371,311)    (372,133)    (373,310)
50       Adjustments
51       Closing Balance                 -       -      9,074      28,083       70,679        114,804     233,741      298,967      368,169      370,201      372,301      370,050      373,276
52
53 Total Accrued Interest
54        Opening Balance                -       -        -            -            -              -           -            -            -            -            -            -            -
55        Adjustments
56        Closing Balance                -       -        -            -            -              -           -            -            -            -            -            -            -
57
58 LT Debt
59       Opening Balance                 -       -        -            -            -              -           -            -            -            -            -            -            -
60       Adjustments
61       Closing Balance                 -       -        -            -            -              -           -            -            -            -            -            -            -
62
63 Total Accrued Expense
64        Opening Balance                -       -        -            -            -              -           -            -            -            -            -            -            -
65        Adjustments
66        Closing Balance                -       -        -            -            -              -           -            -            -            -            -            -            -
67
68 Capital Lease - Obligations
69       Opening Balance                 -       -        -            -            -              -           -            -            -            -            -            -            -
70       Adjustments
71       Closing Balance                 -       -        -            -            -              -           -            -            -            -            -            -            -
72
73 InterCompany Payables
74       Opening Balance                 -       -        -            -            -              -           -            -            -            -            -            -            -
75       Adjustments
76       Closing Balance                 -       -        -            -            -              -           -            -            -            -            -            -            -
77
78 Revolver
79       Opening Balance                 -       -        -            -            -              -           -            -            -            -            -            -            -
80       Adjustments
81       Closing Balance                 -       -        -            -            -              -           -            -            -            -            -            -            -
82
83   Total Liabilities                   -       -      9,074      28,083       70,679        114,804     233,741      298,967      368,169      370,201      372,301      370,050      373,276
84
85   Equity
86            Opening Balance            -       -        -            -            -              -           -            -            -            -            -            -            -
87            Adjustments
88            Closing Balance            -       -        -            -            -              -           -            -            -            -            -            -            -

     Balance                             -       -   829,796     2,770,037    2,310,878     2,862,566    2,849,649    2,923,758    3,015,424    3,048,139    3,081,945    3,045,709    3,097,641




                                                                                 Transit - BS Detail
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                                               Q1           Q1         Q1            Q2      Q2       Q2      Q3      Q3      Q3     Q4      Q4      Q4
                                       Q1-2016      Q1-2016      Q1-2016     Q2-2016    Q2-2016 Q2-2016 Q3-2016 Q3-2016 Q3-2016 Q4-2016 Q4-2016 Q4-2016             Fcst
Amounts in 000's                        Jan-16       Feb-16      Mar-16       Apr-16    May-16   Jun-16  Jul-16  Aug-16  Sep-16 Oct-16 Nov-16 Dec-16                2016

  Service Revenue                          531.1        567.9       567.9       574.8      575.1     575.1    582.5    582.5    582.5    589.7    589.7    589.7    6,908.5
  Other Revenues                             -            -           -           -          -         -        -        -        -        -        -        -          -
   Total Operating Revenue                 531.1        567.9       567.9       574.8      575.1     575.1    582.5    582.5    582.5    589.7    589.7    589.7    6,908.5

Driver Compensation & Related              276.5        256.5       230.4       224.0      224.3     224.3    228.9    227.9    227.9    232.1    232.1    232.1     2,817
Benefits                                    55.3         51.3        46.1        44.8       44.9      44.9     45.8     45.6     45.6     46.4     46.4     46.4       563
Workers Comp                                35.4         35.4        35.4        35.4       35.4      35.4     35.4     35.4     35.4     35.4     35.4     35.4       425
COPY/DISPATCH'S Compensation                26.6         28.4        28.4        28.7       28.8      28.8     29.1     29.1     29.1     29.5     29.5     29.5       345
Fleet Maint Compensation                    21.2         22.7        22.7        23.0       23.0      23.0     23.3     23.3     23.3     23.6     23.6     23.6       276
Repairs & Maintenance                       31.9         34.1        34.1        34.5       34.5      34.5     35.0     35.0     35.0     35.4     35.4     35.4       415
Accident Costs                              21.2         22.7        22.7        23.0       23.0      23.0     23.3     23.3     23.3     23.6     23.6     23.6       276
Fuel, Tolls & Parking Costs                 18.6         19.9        19.9        20.1       20.1      20.1     20.4     20.4     20.4     20.6     20.6     20.6       242
Medical Supplies, Rentals & Repairs          4.8          5.1         5.1         5.2        5.2       5.2      5.2      5.2      5.2      5.3      5.3      5.3        62
Communications                               2.1          2.3         2.3         2.3        2.3       2.3      2.3      2.3      2.3      2.4      2.4      2.4        28
Uniforms                                     2.7          2.8         2.8         2.9        2.9       2.9      2.9      2.9      2.9      2.9      2.9      2.9        35
Equipment                                    2.7          2.8         2.8         2.9        2.9       2.9      2.9      2.9      2.9      2.9      2.9      2.9        35
Health & Safety                              1.6          1.7         1.7         1.7        1.7       1.7      1.7      1.7      1.7      1.8      1.8      1.8        21
Licenses & Permits                           2.5          2.7         2.7         2.8        2.8       2.8      2.8      2.8      2.8      2.8      2.8      2.8        33
SUB TOTAL - COST OF SERVICE                503.1        488.5       457.2       451.3      451.7     451.7    459.1    457.9    457.9    464.8    464.8    464.8     5,573

Gross Profit                                28.0         79.4       110.7       123.5      123.4     123.4    123.4    124.6    124.6    124.9    124.9    124.9     1,336
GP %                                        5.3%        14.0%       19.5%       21.5%      21.5%     21.5%    21.2%    21.4%    21.4%    21.2%    21.2%    21.2%     19.3%

Administrative Staffing                     43.5         43.5        43.5        43.5       43.5      43.5     43.5     43.5     43.5     43.5     43.5     43.5       522
Facility Costs                              20.3         20.3        20.3        20.3       20.3      20.3     20.3     20.3     20.3     20.3     20.3     20.3       243
Insurance Auto/Liability                    16.8         16.8        16.8        16.8       16.8      16.8     16.8     16.8     16.8     16.8     16.8     16.8       202
Professional Fees                            1.6          1.6         1.6         1.6        1.6       1.6      1.6      1.6      1.6      1.6      1.6      1.6        19
All Other SG&A                              12.7         12.7        12.7        12.7       12.7      12.7     12.7     12.7     12.7     12.7     12.7     12.7       152
Bad Debt                                    19.3         21.5        21.5        21.9       21.9      21.9     22.4     22.4     22.4     22.8     22.8     22.8       263
TOTAL OPERATING EXPENSES                   114.2        116.4       116.4       116.8      116.8     116.8    117.2    117.2    117.2    117.7    117.7    117.7     1,402

EBITDA                                     (86.2)       (36.9)       (5.6)        6.8        6.6       6.6      6.1      7.4      7.4      7.2      7.2      7.2        (66)   3,460.7
                                           -16.2%        -6.5%       -1.0%        1.2%       1.1%      1.1%     1.1%     1.3%     1.3%     1.2%     1.2%     1.2%      -1.0%
Article 9 Process                                                                                                                                                      -
Interest Expense                             -            -           -           -          -         -        -        -        -        -        -        -         -
Capital Leases                               -            -           -           -          -         -        -        -        -        -        -        -         -
Depreciation                                13.6         13.6        13.6        13.6       13.6      13.6     13.6     13.6     13.6     13.6     13.6     13.6       163
All Other                                    -            -           -           -          -         -        -        -        -        -        -        -         -
Income Tax                                   -            -           -           -          -         -        -        -        -        -        -        -         -
Subtotal                                    13.6         13.6        13.6        13.6       13.6      13.6     13.6     13.6     13.6     13.6     13.6     13.6       163

Net Income                                 (99.7)       (50.5)      (19.2)       (6.8)       (7.0)    (7.0)    (7.4)    (6.2)    (6.2)    (6.4)    (6.4)    (6.4)     (229)




                                                                                         MD - P&L
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            Amounts in 000's       Dec-15       Jan-16        Feb-16       Mar-16        Apr-16         May-16        Jun-16          Jul-16       Aug-16        Sep-16        Oct-16        Nov-16        Dec-16

Current Assets
  Cash and cash equivalents             -        1,020.6       1,120.6      1,120.6       1,120.6         1,101.6      1,106.9         1,111.7      1,117.8       1,123.8       1,129.8       1,135.7       2,797.0
  Patient Account Receivables       1,630.9        531.1         543.3        555.6         570.2           572.6        575.0           577.6        580.0         582.5         584.9         587.3         589.7
  Inventory                            50.2         50.2          50.2         50.2          50.2            50.2         50.2            50.2         50.2          50.2          50.2          50.2          50.2
  Prepaid and other curnt assets     (100.8)      (100.8)       (100.8)      (100.8)       (100.8)         (100.8)      (100.8)         (100.8)      (100.8)       (100.8)       (100.8)       (100.8)       (100.8)
Total Current Assets                1,580.4      1,501.0       1,613.3      1,625.6       1,640.2         1,623.6      1,631.3         1,638.6      1,647.2       1,655.8       1,664.1       1,672.4       3,336.0
Property, Plant and Equipment
  Property, Plant and Equipment      4,148.9      4,148.9       4,148.9      4,148.9       4,148.9        4,148.9       4,148.9         4,148.9      4,148.9       4,148.9       4,148.9       4,148.9       4,148.9
  Accumulated Depreciation          (4,092.0)    (4,105.6)     (4,119.2)    (4,132.7)     (4,146.3)      (4,159.9)     (4,173.4)       (4,187.0)    (4,200.5)     (4,214.1)     (4,227.7)     (4,241.2)     (4,254.8)
Property and equipment, net             56.9         43.3          29.8         16.2           2.7          (10.9)        (24.5)          (38.0)       (51.6)        (65.2)        (78.7)        (92.3)       (105.8)
  Other Assets
  Goodwill                          (2,203.1)    (2,203.1)     (2,203.1)    (2,203.1)     (2,203.1)      (2,203.1)     (2,203.1)       (2,203.1)    (2,203.1)     (2,203.1)     (2,203.1)     (2,203.1)     (2,203.1)
  Other Assets                          20.7         20.7          20.7         20.7          20.7           20.7          20.7            20.7         20.7          20.7          20.7          20.7          20.7
Total Other Assets                  (2,182.4)    (2,182.4)     (2,182.4)    (2,182.4)     (2,182.4)      (2,182.4)     (2,182.4)       (2,182.4)    (2,182.4)     (2,182.4)     (2,182.4)     (2,182.4)     (2,182.4)
Total Assets                          (545.1)      (638.0)       (539.3)      (540.6)       (539.5)        (569.7)       (575.6)         (581.8)      (586.8)       (591.8)       (597.0)       (602.3)     1,047.8


Current Operating Liabilities
Accounts payable                       495.2        502.0         475.0        454.5         437.8          414.6         415.7           416.9        418.1         419.3         420.4         421.5         422.6
Accrued Management Fees                  -            -             -            -             -              -             -               -            -             -             -             -             -
NYSIF Balance                            -            -             -            -             -              -             -               -            -             -             -             -             -
Accrued expenses                       436.0        436.0         436.0        436.0         436.0          436.0         436.0           436.0        436.0         436.0         436.0         436.0         436.0
InterCompany Balance               (17,007.6)   (17,007.6)    (17,007.6)   (17,007.6)    (17,007.6)     (17,007.6)    (17,007.6)      (17,007.6)   (17,007.6)    (17,007.6)    (17,007.6)    (17,007.6)    (17,007.6)
ABL Line                                 -            -             -            -             -              -             -               -            -             -             -             -             -
   Total Current Liabilities       (16,076.5)   (16,069.6)    (16,096.6)   (16,117.2)    (16,133.8)     (16,157.0)    (16,155.9)      (16,154.7)   (16,153.5)    (16,152.4)    (16,151.2)    (16,150.1)    (16,149.0)

Other Long Term Liabilities
Term Loan                               -            -             -            -             -              -             -               -            -             -             -             -             -
Accrued Interest on Term Debt           -            -             -            -             -              -             -               -            -             -             -             -             -
Incremental Funding                     -            -           176.2        214.7         239.1          239.1         239.1           239.1        239.1         239.1         239.1         239.1         239.1
Capital Lease                          53.1         53.1          53.1         53.1          53.1           53.1          53.1            53.1         53.1          53.1          53.1          53.1          53.1
Deferred Rent Payable
Deferred Tax Liability
Non Current Liabilitites               53.1         53.1         229.4        267.8         292.3          292.3         292.3           292.3        292.3         292.3         292.3         292.3         292.3
Total Liabilities                  (16,023.3)   (16,016.5)    (15,867.3)   (15,849.4)    (15,841.5)     (15,864.7)    (15,863.6)      (15,862.4)   (15,861.3)    (15,860.1)    (15,859.0)    (15,857.9)    (15,856.7)

Common Equity                      15,478.2     15,378.5      15,328.0     15,308.8      15,302.0        15,295.0     15,288.1        15,280.6     15,274.5      15,268.3      15,261.9      15,255.6      15,533.7
Total Equity                       15,478.2     15,378.5      15,328.0     15,308.8      15,302.0        15,295.0     15,288.1        15,280.6     15,274.5      15,268.3      15,261.9      15,255.6      15,533.7

Total Liabilities & Net Assets           -               .0         -               .0         -                 .0            (.0)         -               .0            .0            .0            .0      1,371




                                                                                              MD - BS
                                                                                             A3720
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                                                       Q1-2016      Q1-2016     Q1-2016     Q2-2016     Q2-2016     Q2-2016     Q3-2016     Q3-2016     Q3-2016     Q4-2016     Q4-2016     Q4-2016     Fcst
Amounts in 000's                                        Jan-16      Feb-16      Mar-16       Apr-16     May-16       Jun-16      Jul-16     Aug-16      Sep-16       Oct-16     Nov-16      Dec-16      2016
Cash Flow
Net Income                                                 (99.7)      (50.5)      (19.2)       (6.8)       (7.0)       (7.0)       (7.4)       (6.2)       (6.2)       (6.4)       (6.4)       (6.4)     (229.0)
Total Adjustments                                                                                                                                                                                            -
 Adjustment to reconcile to net income                                                                                                                                                                       -
      Note Payable to Parent                                 -           -          -           -           -           -           -           -           -            -          -            -           -
      Non Cash Equity Infusion                               -           -          -           -           -           -           -           -           -            -          -            -           -
      Amortization of deferred financing fees                -           -          -           -           -           -           -           -           -            -          -            -           -
      Provision for doubtful accounts                        -           -          -           -           -           -           -           -           -            -          -            -           -
      Depreciation and amortization                         13.6        13.6       13.6        13.6        13.6        13.6        13.6        13.6        13.6         13.6       13.6         13.6       162.7
      Deferred rent                                          -           -          -           -           -           -           -           -           -            -          -            -           -
 Total Adjustment to reconcile to net income               (86.2)      (36.9)      (5.6)        6.8         6.6         6.6         6.1         7.4         7.4          7.2        7.2          7.2       (66.3)
 Operating Adjustments
  (Increase) Decrease in Assets
    Accounts Receivable                                  1,099.9       (12.3)      (12.3)      (14.6)       (2.4)       (2.4)       (2.6)       (2.5)       (2.5)       (2.4)       (2.4)       (2.4)    1,041.3
      Inventory                                              -           -           -           -           -           -           -           -           -           -           -           -           -
      Prepaid Expenses and Other                             -           -           -           -           -           -           -           -           -           -           -           -           -
      Other Long-Term Assets                                 -           -           -           -           -           -           -           -           -           -           -           -           -
  Total (Increase) Decrease in Assets                    1,099.9       (12.3)      (12.3)      (14.6)       (2.4)       (2.4)       (2.6)       (2.5)       (2.5)       (2.4)       (2.4)       (2.4)    1,041.3
  Increase (Decrease) In Liabilities
      A/P and Accrued Expenses                               6.8       (27.0)      (20.5)      (16.7)      (23.2)       1.1         1.2         1.2         1.2          1.1        1.1          1.1      (72.5)
      Accrued Management Fees                                -           -           -           -           -          -           -           -           -            -          -            -          -
      NYSIF Balance                                          -           -           -           -           -          -           -           -           -            -          -            -          -
      Capital Lease Obligations                              -           -           -           -           -          -           -           -           -            -          -            -          -
      InterCompany Payable                                   -           -           -           -           -          -           -           -           -            -          -            -          -
      Deferred Tax Liability                                 -           -           -           -           -          -           -           -           -            -          -            -          -
  Total Increase (Decrease) In Liabilities                   6.8       (27.0)      (20.5)      (16.7)      (23.2)       1.1         1.2         1.2         1.2          1.1        1.1          1.1      (72.5)
 Total Operating Adjustments                             1,020.6       (76.2)      (38.4)      (24.5)      (19.0)       5.3         4.8         6.1         6.1          5.9        5.9          5.9      902.4

 Investing Adjustments
  Capital Expenditures                                      -            -          -           -           -           -           -           -           -            -          -            -             -
 Total Investing Adjustments                                -            -          -           -           -           -           -           -           -            -          -            -             -

 Financing Adjustments
   Accrued Interest                                          -           -          -           -            -          -           -           -           -            -          -            -           -
   ABL Net Borrowings                                        -           -          -           -            -          -           -           -           -            -          -            -           -
   Term Loan                                                 -           -          -           -            -          -           -           -           -            -          -            -           -
   Capital Lease                                             -           -          -           -            -          -           -           -           -            -          -            -           -
   Incremental Funding                                       -         176.2       38.4        24.5          -          -           -           -           -            -          -            -         239.1
   New Loans                                                 -           -          -           -            -          -           -           -           -            -          -            -           -
 Total Financing Adjustments                                 -         176.2       38.4        24.5          -          -           -           -           -            -          -            -         239.1
Total Cash Flow                                          1,020.6       100.0        -           -          (19.0)       5.3         4.8         6.1         6.1          5.9        5.9          5.9     1,141.6




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                                                 2016              2016              2016             2016            2016          2016          2016          2016          2016          2016          2016          2016
                                                Q1-2016           Q1-2016           Q1-2016          Q2-2016         Q2-2016       Q2-2016       Q3-2016       Q3-2016       Q3-2016       Q4-2016       Q4-2016       Q4-2016
Days Per Month                                               32                28           29                29             31            29             31           31            29            31            29            31
                                                Jan-16            Feb-16            Mar-16            Apr-16         May-16        Jun-16         Jul-16       Aug-16        Sep-16        Oct-16        Nov-16        Dec-16
Beginning Cash Balance                                   -               -               100.0             100.0         596.8          100.0          201.6       280.2          418.6         583.9        817.2        1,108.1
Net Cash Flow                                            -             (76.2)            (38.4)            (24.5)         (19.0)          5.3            4.8          6.1           6.1           5.9           5.9           5.9
Projected Ending Cash Flow                               -             (76.2)             61.6              75.5         577.8          105.3          206.3       286.2          424.7         589.8        823.1        1,114.0

Minimum Cash Balance                                                  100.0              100.0               100.0        100.0        100.0          100.0        100.0          100.0        100.0         100.0         100.0

Projected Funding Requirement                                         176.2               38.4                24.5       (477.8)         (5.3)       (106.3)       (186.2)       (324.7)       (489.8)       (723.1)     (1,014.0)


Term Loan A
Opening                                                  -                 -                  -                -            -            -              -             -                -          -             -            -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -            -              -             -                -          -             -            -

Term Loan B
Opening                                                  -                 -                  -                -            -            -              -             -                -          -             -            -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -            -              -             -                -          -             -            -

Term Loan D
Opening                                                  -                 -                  -                -            -            -              -             -                -          -             -            -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -            -              -             -                -          -             -            -

Term Loan E
Opening                                                  -                 -                  -                -            -            -              -             -                -          -             -            -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -            -              -             -                -          -             -            -

Term Loan F
Opening                                                  -                 -                  -                -            -            -              -             -                -          -             -            -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -            -              -             -                -          -             -            -




                                                                                                   MD - DS
                                                                                                  A3722
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Revolving Credit A
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan G
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -


Total Term Loans
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -


Term Loan A
Opening                                     12.0%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan B
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan D
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan E
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -




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Term Loan F
Opening                                     2.5%   -      -       -                 -       -       -       -       -       -       -       -       -
      Interest Expense                             -      -       -                 -       -       -       -       -       -       -       -       -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -      -       -                 -       -       -       -       -       -       -       -       -

Term Loan H
Opening                                     2.5%   -      -       -                 -       -       -       -       -       -       -       -       -
      Interest Expense                             -      -       -                 -       -       -       -       -       -       -       -       -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -      -       -                 -       -       -       -       -       -       -       -       -

Wells Fargo Interest
Opening                                     0.0%
      Interest Expense                             -      -       -                 -       -       -       -       -       -       -       -       -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -      -       -                 -       -       -       -       -       -       -       -       -

Total Interest on Loans Loans
Opening                                            -      -       -                 -       -       -       -       -       -       -       -       -
      Total Interest Expense                       -      -       -                 -       -       -       -       -       -       -       -       -

      Interest Payments
      Adjustments
Accured Interest                                   -      -       -                 -       -       -       -       -       -       -       -       -

New Funding Requirement
Opening                                            -      -     176.2             214.7   239.1   239.1   239.1   239.1   239.1   239.1   239.1   239.1
      Funding Requests                             -    176.2    38.4              24.5     -       -       -       -       -       -       -       -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -    176.2   214.7             239.1   239.1   239.1   239.1   239.1   239.1   239.1   239.1   239.1


Borrowing Base
Net AR

Borrowing Base                                     -      -       -                 -       -       -       -       -       -       -       -       -




                                                                        MD - DS
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                                                     Q1-2016       Q1-2016       Q1-2016       Q2-2016       Q2-2016         Q2-2016       Q3-2016       Q3-2016       Q3-2016       Q4-2016       Q4-2016       Q4-2016       Fcst
                                       Dec-15        Jan-16         Feb-16        Mar-16        Apr-16        May-16          Jun-16        Jul-16        Aug-16        Sep-16        Oct-16        Nov-16        Dec-16


1 Petty Cash
2       Opening Balance                         -           -             -             -             -                -            -             -             -             -             -             -             -
3       Adjustments
4       Closing Balance                         -           -             -             -             -                -            -             -             -             -             -             -             -
5
6    Accounts Receivble
7    Rolling 90 Day Sales                             1,593,180     1,630,044    1,666,908      1,710,653    1,717,812        1,724,970     1,732,682     1,740,117     1,747,552     1,754,711     1,761,870     1,769,029
 8   DSO Assumption                                        30.0          30.0         30.0           30.0         30.0             30.0          30.0          30.0          30.0          30.0          30.0          30.0
9           Opening Balance             1,630,947     1,630,947       531,060      543,348        555,636      570,218          572,604       574,990       577,561       580,039       582,517       584,904       587,290
10          Sales                                       531,060       567,924      567,924        574,805      575,082          575,082       582,517       582,517       582,517       589,676       589,676       589,676
11          Collections                              (1,630,947)     (555,636)    (555,636)      (560,224)    (572,696)        (572,696)     (579,947)     (580,039)     (580,039)     (587,290)     (587,290)     (587,290)
12          Adjustments
13          Closing Balance             1,630,947      531,060       543,348       555,636       570,218       572,604         574,990       577,561       580,039       582,517       584,904       587,290       589,676
14
15 Inventory
16       Opening Balance                  50,168        50,168        50,168        50,168        50,168        50,168          50,168        50,168        50,168        50,168        50,168        50,168        50,168
17       Adjustments
18       Closing Balance                  50,168        50,168        50,168        50,168        50,168        50,168          50,168        50,168        50,168        50,168        50,168        50,168        50,168
19
20 Total Prepaid Expenses
21        Opening Balance                (100,764)     (100,764)     (100,764)    (100,764)      (100,764)     (100,764)       (100,764)     (100,764)     (100,764)     (100,764)     (100,764)     (100,764)     (100,764)
22        Adjustments
23        Closing Balance                (100,764)     (100,764)     (100,764)    (100,764)      (100,764)     (100,764)       (100,764)     (100,764)     (100,764)     (100,764)     (100,764)     (100,764)     (100,764)
24
25 Total PP&E (Gross)
26        Opening Balance               4,148,943     4,148,943     4,148,943    4,148,943      4,148,943    4,148,943        4,148,943     4,148,943     4,148,943     4,148,943     4,148,943     4,148,943     4,148,943
27        Adjustments
28        Closing Balance               4,148,943     4,148,943     4,148,943    4,148,943      4,148,943    4,148,943        4,148,943     4,148,943     4,148,943     4,148,943     4,148,943     4,148,943     4,148,943
29
30 Accumulted Deprecation
31      Opening Balance                (4,092,045)   (4,092,045)   (4,105,606)   (4,119,167)   (4,132,729)   (4,146,290)     (4,159,851)   (4,173,413)   (4,186,974)   (4,200,535)   (4,214,097)   (4,227,658)   (4,241,219)
32      Adjustments                                     (13,561)      (13,561)      (13,561)      (13,561)      (13,561)        (13,561)      (13,561)      (13,561)      (13,561)      (13,561)      (13,561)      (13,561)
33      Closing Balance                (4,092,045)   (4,105,606)   (4,119,167)   (4,132,729)   (4,146,290)   (4,159,851)     (4,173,413)   (4,186,974)   (4,200,535)   (4,214,097)   (4,227,658)   (4,241,219)   (4,254,781)
34
35 Total Other Assets
36        Opening Balance                 20,689        20,689        20,689        20,689        20,689        20,689          20,689        20,689        20,689        20,689        20,689        20,689        20,689
37        Adjustments
38        Closing Balance                 20,689        20,689        20,689        20,689        20,689        20,689          20,689        20,689        20,689        20,689        20,689        20,689        20,689
39
40 Goodwill
41      Opening Balance                (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)     (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)
42      Adjustments
43      Closing Balance                (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)     (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)   (2,203,068)
44
45         Total Assets                  (545,130)   (1,658,578)   (1,659,851)   (1,661,124)   (1,660,104)   (1,671,279)     (1,682,454)   (1,693,445)   (1,704,528)   (1,715,611)   (1,726,786)   (1,737,961)   (1,749,136)
46
47 Total Capital Lease ST Obligation
48        Opening Balance                   5,688         5,688         5,688        5,688          5,688            5,688        5,688         5,688         5,688         5,688         5,688         5,688         5,688
49        Adjustments
50        Closing Balance                   5,688         5,688         5,688        5,688          5,688            5,688        5,688         5,688         5,688         5,688         5,688         5,688         5,688
51
52 Accounts Payable
   Non Salaried OpEx                                   418,336       427,503       430,559       437,811       438,998         440,185       441,463       442,696       443,928       445,115       446,302       447,489
   DPO                                                   108.0         100.0          95.0          90.0          85.0            85.0          85.0          85.0          85.0          85.0          85.0          85.0
53       Opening Balance                 495,171       495,171       502,003       475,003       454,479       437,811         414,609       415,730       416,937       418,101       419,266       420,387       421,507
         OpEx                                          139,445       145,557       145,557       146,698       146,744         146,744       147,976       147,976       147,976       149,163       149,163       149,163




                                                                                                    MD - BS Detail
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              Payments                            (132,614)      (172,556)      (166,081)      (163,365)      (169,945)      (145,623)      (146,769)      (146,812)      (146,812)      (148,042)      (148,042)      (148,042)
54            Adjustments
55            Closing Balance       495,171        502,003        475,003        454,479        437,811        414,609        415,730        416,937        418,101        419,266        420,387        421,507        422,628
56
57 Total Accrued Interest
58        Opening Balance                -              -              -              -              -              -              -              -              -              -              -              -              -
59        Adjustments
60        Closing Balance                -              -              -              -              -              -              -              -              -              -              -              -              -
61
62 LT Debt
63       Opening Balance                 -              -              -              -              -              -              -              -              -              -              -              -              -
64       Adjustments
65       Closing Balance                 -              -              -              -              -              -              -              -              -              -              -              -              -
66
57 Total Accrued Expense
58        Opening Balance           436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005
59        Adjustments
60        Closing Balance           436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005        436,005
61
62 Capital Lease - Obligations
63       Opening Balance             47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440
64       Adjustments
65       Closing Balance             47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440         47,440
66
67 InterCompany Payables
68       Opening Balance         (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)
69       Adjustments
70       Closing Balance         (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)   (17,007,637)
71
72 Revolver
73       Opening Balance                 -              -              -              -              -              -              -              -              -              -              -              -              -
74       Adjustments
75       Closing Balance                 -              -              -              -              -              -              -              -              -              -              -              -              -
76
77   Total Liabilities           (16,023,332)   (16,016,501)   (16,043,500)   (16,064,025)   (16,080,692)   (16,103,894)   (16,102,774)   (16,101,566)   (16,100,402)   (16,099,238)   (16,098,117)   (16,096,996)   (16,095,875)
78
79   Equity
80            Opening Balance    15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203
81            Adjustments
82            Closing Balance    15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203     15,478,203

     Balance                             -       (1,120,279)    (1,094,553)    (1,075,302)    (1,057,614)    (1,045,587)    (1,057,883)    (1,070,081)    (1,082,329)    (1,094,576)    (1,106,872)    (1,119,168)    (1,131,463)




                                                                                                   MD - BS Detail
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                                              Q1           Q1           Q1           Q2           Q2           Q2           Q3           Q3           Q3           Q4           Q4           Q4
Maryland                                       Jan-16       Feb-16       Mar-16       Apr-16      May-16        Jun-16       Jul-16       Aug-16       Sep-16       Oct-16       Nov-16       Dec-16      FY'16 Total

Grand Total
                   Bulk                            210.0        210.0        210.0        210.0        210.0        210.0        210.0        210.0        210.0        210.0        210.0        210.0
                   Lance                           307.2        344.1        344.1        350.9        350.9        350.9        358.0        358.0        358.0        365.1        365.1        365.1
                   Lette                            13.9         13.9         13.9         13.9         14.1         14.1         14.6         14.6         14.6         14.6         14.6         14.6
                   Total Revenue                   531.1        567.9        567.9        574.8        575.1        575.1        582.5        582.5        582.5        589.7        589.7        589.7      6,908.5
Trips
          Bulk
                   UNIVERSITY OF MARYLAND           n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a
                   Total                            -            -            -            -            -            -            -            -            -            -            -            -

          Lance
                   UNIVERSITY OF MARYLAND           960          960          960          979          979          979          999          999          999         1,019        1,019        1,019      11,870        59
                   All Other                        -            -            -            -            -            -            -            -            -             -            -            -           -       14.69
                   Total                            960          960          960          979          979          979          999          999          999         1,019        1,019        1,019      11,870      0.49

          Lette
                   UNIVERSITY OF MARYLAND            220          220          220          220        224.4        224.4          231          231          231          231          231          231       2,715
                   All Other                        -            -            -            -            -            -            -            -            -            -            -            -               0
                   Total                            220          220          220          220          224          224          231          231          231          231          231          231        2,715

Average Patient Charger: APC
APC
          Bulk
                     UNIVERSITY OF MARYLAND         n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a          n/a
                     Total                          -            -            -            -            -            -            -            -            -            -            -            -

          Lance                                                  12%           0%           0%           0%           0%           0%           0%           0%           0%           0%           0%
                   UNIVERSITY OF MARYLAND           320          358          358          358          358          358          358          358          358          358          358          358        4,262
                   All Other                        320          358          358          358          358          358          358          358          358          358          358          358        4,262
                   Total

          Lette                                                   0%           0%           0%           0%           0%           0%           0%           0%           0%           0%           0%
                   UNIVERSITY OF MARYLAND            63           63           63           63           63           63           63           63           63           63           63           63           756
                   All Other                         63           63           63           63           63           63           63           63           63           63           63           63           756
                   Total



Revenue
          Bulk
                   UNIVERSITY OF MARYLAND     210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000
                   Total                      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000      210,000

          Lance
                   UNIVERSITY OF MARYLAND     307,200      344,064      344,064      350,945      350,945      350,945      357,964      357,964      357,964      365,123      365,123      365,123      4,217,427
                   All Other                      -            -            -            -            -            -            -            -            -            -            -            -              -
                   Total                      307,200      344,064      344,064      350,945      350,945      350,945      357,964      357,964      357,964      365,123      365,123      365,123      4,217,427

          Lette
                   UNIVERSITY OF MARYLAND      13,860       13,860       13,860       13,860       14,137       14,137       14,553       14,553       14,553       14,553       14,553       14,553        171,032
                   All Other                      -            -            -            -            -            -            -            -            -            -            -            -              -
                   Total                       13,860       13,860       13,860       13,860       14,137       14,137       14,553       14,553       14,553       14,553       14,553       14,553        171,032




                                                                                                         MD
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                                                                                             Cost Savings
                                               0%        0%        0%        0%        0%          0%          0%        0%        0%        0%        0%        0%
DIRECT COSTS
Driver Compensation & Related               276.5     256.5     230.4     224.0     224.3       224.3       228.9     227.9     227.9     232.1     232.1     232.1    2,817.1
         Ambulance                           52.1%     45.2%     40.6%     39.0%     39.0%       39.0%       39.3%     39.1%     39.1%     39.4%     39.4%     39.4%     40.8%
                   Trips                    960    960    960    979    979    979    999    999    999  1,019  1,019  1,019
                   UHU                      0.24   0.26   0.29   0.29   0.29   0.29   0.29   0.29   0.29   0.29   0.29   0.29
                   Unit Hours             4,000  3,692  3,310  3,377  3,377  3,377  3,444  3,444  3,444  3,513  3,513  3,513
                   Unit Hour Cost       $ 65.0 $ 65.0 $ 65.0 $ 62.0 $ 62.0 $ 62.0 $ 62.0 $ 62.0 $ 62.0 $ 62.0 $ 62.0 $ 62.0
                   Expense                  260.0     240.0     215.2     209.3     209.3       209.3       213.5     213.5     213.5     217.8     217.8     217.8    2,637.2
                                            49.0%     42.3%     37.9%     36.4%     36.4%       36.4%       36.7%     36.7%     36.7%     36.9%     36.9%     36.9%
           Ambulette
                       Trips                  220       220       220       220      224         224         231       231       231       231       231       231
                       UHU                    0.24      0.24      0.26      0.27      0.27        0.27        0.27      0.29      0.29      0.29      0.29      0.29
                       Unit Hours             917       917       846       815      831         831         856       797       797       797       797       797
                       Unit Hour Cost   $    18.0 $    18.0 $    18.0 $    18.0 $    18.0 $      18.0 $      18.0 $    18.0 $    18.0 $    18.0 $    18.0 $    18.0
                       Expense               16.5      16.5      15.2      14.7      15.0        15.0        15.4      14.3      14.3      14.3      14.3      14.3     179.9
                                             3.1%      2.9%      2.7%      2.6%      2.6%        2.6%        2.6%      2.5%      2.5%      2.4%      2.4%      2.4%

Benefits
  20.0%            1                         55.3      51.3      46.1      44.8      44.9        44.9        45.8      45.6      45.6      46.4      46.4      46.4     563.4     8.2%
Workers Comp
                   1                         35.4      35.4      35.4      35.4      35.4        35.4        35.4      35.4      35.4      35.4      35.4      35.4     425.1     6.2%
COPY/DISPATCH'S Compensation
   5.0%     1                                26.6      28.4      28.4      28.7      28.8        28.8        29.1      29.1      29.1      29.5      29.5      29.5     345.4     5.0%
Fleet Maint Compensation
    4.0%       1                             21.2      22.7      22.7      23.0      23.0        23.0        23.3      23.3      23.3      23.6      23.6      23.6     276.3     4.0%
Repairs & Maintenance
  6.00%        1                             31.9      34.1      34.1      34.5      34.5        34.5        35.0      35.0      35.0      35.4      35.4      35.4     414.5     6.0%
Accident Costs
    4.0%       1                             21.2      22.7      22.7      23.0      23.0        23.0        23.3      23.3      23.3      23.6      23.6      23.6     276.3     4.0%
Fuel, Tolls & Parking Costs
   3.50%         1                           18.6      19.9      19.9      20.1      20.1        20.1        20.4      20.4      20.4      20.6      20.6      20.6     241.8     3.5%
Medical Supplies, Rentals & Repairs
  0.90%         1                             4.8       5.1       5.1       5.2       5.2         5.2         5.2       5.2       5.2       5.3       5.3       5.3      62.2     0.9%
Communications
  0.40%       1                               2.1       2.3       2.3       2.3       2.3         2.3         2.3       2.3       2.3       2.4       2.4       2.4      27.6     0.4%
Uniforms
   0.50%           1                          2.7       2.8       2.8       2.9       2.9         2.9         2.9       2.9       2.9       2.9       2.9       2.9      34.5     0.5%
Equipment
   0.50%           1                          2.7       2.8       2.8       2.9       2.9         2.9         2.9       2.9       2.9       2.9       2.9       2.9      34.5     0.5%
Health & Safety
  0.30%         1                             1.6       1.7       1.7       1.7       1.7         1.7         1.7       1.7       1.7       1.8       1.8       1.8      20.7     0.3%
Licenses & Permits
   0.48%       1                              2.5       2.7       2.7       2.8       2.8         2.8         2.8       2.8       2.8       2.8       2.8       2.8      33.1     0.5%
SUB TOTAL - COST OF SERVICE                 503.1     488.5     457.2     451.3     451.7       451.7       459.1     457.9     457.9     464.8     464.8     464.8    5,572.7

Gross Profit                                 28.0      79.4     110.7     123.5     123.4       123.4       123.4     124.6     124.6     124.9     124.9     124.9    1,335.7
Gross Margin                                 5.3%     14.0%     19.5%     21.5%     21.5%       21.5%       21.2%     21.4%     21.4%     21.2%     21.2%     21.2%     19.3%



INDIRECT COSTS

Administrative Staffing                      43.5      43.5      43.5      43.5      43.5        43.5        43.5      43.5      43.5      43.5      43.5      43.5      521.9    7.6%
Facility Costs                               20.3      20.3      20.3      20.3      20.3        20.3        20.3      20.3      20.3      20.3      20.3      20.3      243.1    3.5%
Insurance Auto/Liability                     16.8      16.8      16.8      16.8      16.8        16.8        16.8      16.8      16.8      16.8      16.8      16.8      202.2    2.9%
Professional Fees                             1.6       1.6       1.6       1.6       1.6         1.6         1.6       1.6       1.6       1.6       1.6       1.6       19.2    0.3%
All Other SG&A                               12.7      12.7      12.7      12.7      12.7        12.7        12.7      12.7      12.7      12.7      12.7      12.7      152.3    2.2%
Bad Debt                                     19.3      21.5      21.5      21.9      21.9        21.9        22.4      22.4      22.4      22.8      22.8      22.8      263.3    3.8%
TOTAL OPERATING EXPENSES                    114.2     116.4     116.4     116.8     116.8       116.8       117.2     117.2     117.2     117.7     117.7     117.7    1,402.0

Operating EBITDA                            (86.2)    (36.9)     (5.6)      6.8       6.6         6.6         6.1       7.4       7.4       7.2       7.2       7.2      (66.3)   -1.0%

Depreciation                                 13.6      13.6      13.6      13.6      13.6        13.6        13.6      13.6      13.6      13.6      13.6      13.6     162.7

Net Income                                  (99.7)    (50.5)    (19.2)     (6.8)     (7.0)        (7.0)      (7.4)     (6.2)     (6.2)     (6.4)     (6.4)     (6.4)    (229.0)




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                                               Q1           Q1         Q1            Q2      Q2       Q2      Q3      Q3      Q3     Q4      Q4      Q4
                                       Q1-2016      Q1-2016      Q1-2016     Q2-2016    Q2-2016 Q2-2016 Q3-2016 Q3-2016 Q3-2016 Q4-2016 Q4-2016 Q4-2016            Fcst
Amounts in 000's                        Jan-16       Feb-16      Mar-16       Apr-16    May-16   Jun-16  Jul-16  Aug-16  Sep-16 Oct-16 Nov-16 Dec-16               2016

  Service Revenue                          545.9        545.9       545.9       550.8      550.8    550.8    558.8    558.8    558.8    566.2    566.2    566.2    6,664.9
  Other Revenues                             -            -           -           -          -        -        -        -        -        -        -        -         -
   Total Operating Revenue                 545.9        545.9       545.9       550.8      550.8    550.8    558.8    558.8    558.8    566.2    566.2    566.2    6,664.9

Driver Compensation & Related              186.0        186.0       186.0       179.0      179.0    174.5    177.2    177.2    181.3    184.0    184.0    184.0     2,178
Benefits                                    45.6         45.6        45.6        43.9       43.9     42.7     43.4     43.4     44.4     45.1     45.1     45.1       534
Workers Comp                                17.5         17.5        17.5        17.5       17.5     17.5     17.5     17.5     17.5     17.5     17.5     17.5       210
COPY/DISPATCH'S Compensation                 -            -           -           -          -        -        -        -        -        -        -        -         -
Fleet Maint Compensation                    21.8         21.8        21.8        22.0       22.0     22.0     22.4     22.4     22.4     22.6     22.6     22.6       267
Repairs & Maintenance                       66.4         66.4        16.4        16.5       16.5     16.5     16.8     16.8     16.8     17.0     17.0     17.0       300
Accident Costs                              25.7         25.7        25.7        25.9       25.9     25.9     26.3     26.3     26.3     26.6     26.6     26.6       313
Fuel, Tolls & Parking Costs                 16.4         16.4        16.4        16.5       16.5     16.5     16.8     16.8     16.8     17.0     17.0     17.0       200
Medical Supplies, Rentals & Repairs          9.8          9.8         9.8         9.9        9.9      9.9     10.1     10.1     10.1     10.2     10.2     10.2       120
Communications                               2.9          2.9         2.9         3.0        3.0      3.0      3.0      3.0      3.0      3.0      3.0      3.0        36
Uniforms                                     1.0          1.0         1.0         1.0        1.0      1.0      1.0      1.0      1.0      1.0      1.0      1.0        12
Equipment                                    3.1          3.1         3.1         3.1        3.1      3.1      3.1      3.1      3.1      3.2      3.2      3.2        37
Health & Safety                                .2           .2          .2          .2         .2       .2       .2       .2       .2       .2       .2       .2        2
Licenses & Permits                             .4           .4          .4          .4         .4       .4       .4       .4       .4       .4       .4       .4        5
SUB TOTAL - COST OF SERVICE                396.6        396.6       346.6       338.8      338.8    333.1    338.0    338.0    343.1    347.7    347.7    347.7     4,213

Gross Profit                               149.2        149.2       199.2       212.0      212.0    217.7    220.8    220.8    215.7    218.5    218.5    218.5     2,452
GP %                                       27.3%        27.3%       36.5%       38.5%      38.5%    39.5%    39.5%    39.5%    38.6%    38.6%    38.6%    38.6%     36.8%

Administrative Staffing                     50.0         50.0        50.0        50.0       50.0     50.0     50.0     50.0     50.0     50.0     50.0     50.0       600
Facility Costs                              27.2         27.2        27.2        27.2       27.2     27.2     27.2     27.2     27.2     27.2     27.2     27.2       327
Insurance Auto/Liability                    26.8         26.8        26.8        26.8       26.8     26.8     26.8     26.8     26.8     26.8     26.8     26.8       321
Professional Fees                            1.7          1.7         1.7         1.7        1.7      1.7      1.7      1.7      1.7      1.7      1.7      1.7        20
All Other SG&A                              13.7         13.7        13.7        13.7       13.7     13.7     13.7     13.7     13.7     13.7     13.7     13.7       164
Bad Debt                                    32.8         32.8        32.8        33.0       33.0     33.0     33.5     33.5     33.5     34.0     34.0     34.0       400
TOTAL OPERATING EXPENSES                   152.1        152.1       152.1       152.4      152.4    152.4    152.9    152.9    152.9    153.3    153.3    153.3     1,832

EBITDA                                      (2.9)        (2.9)       47.1        59.6       59.6     65.3     67.9     67.9     62.8     65.2     65.2     65.2       620    3,460.7
                                            -0.5%        -0.5%        8.6%       10.8%      10.8%    11.8%    12.2%    12.2%    11.2%    11.5%    11.5%    11.5%      9.3%
Article 9 Process                                                                                                                                                     -
Interest Expense                             -            -           -           -          -        -        -        -        -        -        -        -         -
Capital Leases                               -            -           -           -          -        -        -        -        -        -        -        -         -
Depreciation                                 8.2          8.2         8.2         8.2        8.2      8.2      8.2      8.2      8.2      8.2      8.2      8.2        98
All Other                                    -            -           -           -          -        -        -        -        -        -        -        -         -
Income Tax                                   -            -           -           -          -        -        -        -        -        -        -        -         -
Subtotal                                     8.2          8.2         8.2         8.2        8.2      8.2      8.2      8.2      8.2      8.2      8.2      8.2        98

Net Income                                 (11.1)       (11.1)       38.9        51.4       51.4     57.1     59.8     59.8     54.6     57.0     57.0     57.0       522




                                                                                         PA - P&L
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            Amounts in 000's       Dec-15       Jan-16       Feb-16       Mar-16       Apr-16         May-16          Jun-16       Jul-16       Aug-16       Sep-16       Oct-16       Nov-16       Dec-16

Current Assets
  Cash and cash equivalents              1.0        307.2        314.5        341.1        382.3             417.1        481.8        548.3       614.7        676.0        739.8        803.6        867.4
  Patient Account Receivables          858.8        545.9        545.9        545.9        547.5             549.2        550.8        553.5       556.1        558.8        561.3        563.7        566.2
  Inventory                             68.3         68.3         68.3         68.3         68.3              68.3         68.3         68.3        68.3         68.3         68.3         68.3         68.3
  Prepaid and other curnt assets      (184.0)      (184.0)      (184.0)      (184.0)      (184.0)           (184.0)      (184.0)      (184.0)     (184.0)      (184.0)      (184.0)      (184.0)      (184.0)
Total Current Assets                   744.1        737.3        744.6        771.2        814.1             850.5        916.9        986.1     1,055.1      1,119.1      1,185.4      1,251.6      1,317.9
Property, Plant and Equipment
  Property, Plant and Equipment      3,634.1      3,634.1      3,634.1      3,634.1      3,634.1        3,634.1         3,634.1      3,634.1      3,634.1      3,634.1      3,634.1      3,634.1     3,634.1
  Accumulated Depreciation          (3,571.1)    (3,579.2)    (3,587.4)    (3,595.6)    (3,603.8)      (3,611.9)       (3,620.1)    (3,628.3)    (3,636.5)    (3,644.6)    (3,652.8)    (3,661.0)   (3,669.2)
Property and equipment, net             63.0         54.9         46.7         38.5         30.4           22.2            14.0          5.8         (2.3)       (10.5)       (18.7)       (26.9)      (35.0)
  Other Assets
  Goodwill                          (3,165.3)    (3,165.3)    (3,165.3)    (3,165.3)    (3,165.3)      (3,165.3)       (3,165.3)    (3,165.3)    (3,165.3)    (3,165.3)    (3,165.3)    (3,165.3)   (3,165.3)
  Other Assets                          49.4         49.4         49.4         49.4         49.4           49.4            49.4         49.4         49.4         49.4         49.4         49.4        49.4
Total Other Assets                  (3,115.9)    (3,115.9)    (3,115.9)    (3,115.9)    (3,115.9)      (3,115.9)       (3,115.9)    (3,115.9)    (3,115.9)    (3,115.9)    (3,115.9)    (3,115.9)   (3,115.9)
Total Assets                        (2,308.8)    (2,323.7)    (2,324.6)    (2,306.1)    (2,271.4)      (2,243.2)       (2,185.0)    (2,124.0)    (2,063.1)    (2,007.3)    (1,949.2)    (1,891.1)   (1,833.0)

Current Operating Liabilities
Accounts payable                       468.7        464.8        475.0        454.5        437.8          414.6           415.7        416.9        418.1        419.3        420.4        421.5      422.6
Accrued Management Fees                  -            -            -            -            -              -               -            -            -            -            -            -          -
NYSIF Balance                            -            -            -            -            -              -               -            -            -            -            -            -          -
Accrued expenses                       187.1        187.1        187.1        187.1        187.1          187.1           187.1        187.1        187.1        187.1        187.1        187.1      187.1
InterCompany Balance               (14,907.8)   (14,907.8)   (14,907.8)   (14,907.8)   (14,907.8)     (14,907.8)      (14,907.8)   (14,907.8)   (14,907.8)   (14,907.8)   (14,907.8)   (14,907.8) (14,907.8)
ABL Line                                 -            -            -            -            -              -               -            -            -            -            -            -          -
    Total Current Liabilities      (14,252.0)   (14,255.8)   (14,245.6)   (14,266.2)   (14,282.8)     (14,306.0)      (14,304.9)   (14,303.7)   (14,302.6)   (14,301.4)   (14,300.3)   (14,299.1) (14,298.0)

Other Long Term Liabilities
Term Loan                                -            -            -            -            -                 -            -            -            -            -            -            -           -
Accrued Interest on Term Debt            -            -            -            -            -                 -            -            -            -            -            -            -           -
Incremental Funding                      -            -            -            -            -                 -            -            -            -            -            -            -           -
Capital Lease                           (1.5)        (1.5)        (1.5)        (1.5)        (1.5)             (1.5)        (1.5)        (1.5)        (1.5)        (1.5)        (1.5)        (1.5)       (1.5)
Deferred Rent Payable
Deferred Tax Liability
Non Current Liabilitites                (1.5)        (1.5)        (1.5)        (1.5)        (1.5)             (1.5)        (1.5)        (1.5)        (1.5)        (1.5)        (1.5)        (1.5)       (1.5)
Total Liabilities                  (14,253.5)   (14,257.4)   (14,247.2)   (14,267.7)   (14,284.4)     (14,307.6)      (14,306.5)   (14,305.2)   (14,304.1)   (14,302.9)   (14,301.8)   (14,300.7) (14,299.6)

Common Equity                      11,944.7     11,933.7     11,922.6     11,961.6     12,013.0        12,064.4       12,121.5     12,181.2     12,241.0     12,295.6     12,352.6     12,409.6     12,466.5
Total Equity                       11,944.7     11,933.7     11,922.6     11,961.6     12,013.0        12,064.4       12,121.5     12,181.2     12,241.0     12,295.6     12,352.6     12,409.6     12,466.5

Total Liabilities & Net Assets           -            -            -            -            -                 -            -            -            -            -            -            -               ()




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                                                 2016              2016          2016             2016              2016          2016          2016          2016          2016          2016          2016          2016
                                                Q1-2016           Q1-2016       Q1-2016          Q2-2016           Q2-2016       Q2-2016       Q3-2016       Q3-2016       Q3-2016       Q4-2016       Q4-2016       Q4-2016
Days Per Month                                               32           28            29                29              31             29             31          31             29            31           29             31
                                                Jan-16            Feb-16        Mar-16            Apr-16           May-16        Jun-16         Jul-16       Aug-16        Sep-16        Oct-16        Nov-16        Dec-16
Beginning Cash Balance                                   -             307.2         314.5             341.1           382.3          417.1          481.8       548.3          614.7         676.0        739.8          803.6
Net Cash Flow                                            -               7.3          26.6              41.3            34.7           64.7           66.5        66.4           61.3          63.8         63.8           63.8
Projected Ending Cash Flow                               -             314.5         341.1             382.3           417.1          481.8          548.3       614.7          676.0         739.8        803.6          867.4

Minimum Cash Balance                                                  100.0          100.0               100.0         100.0         100.0          100.0        100.0          100.0        100.0         100.0         100.0

Projected Funding Requirement                                         (214.5)       (241.1)              (282.3)       (317.1)       (381.8)       (448.3)       (514.7)       (576.0)       (639.8)       (703.6)       (767.4)


Term Loan A
Opening                                                  -               -                -                 -             -             -             -             -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -               -                -                 -             -             -             -             -                -          -             -             -

Term Loan B
Opening                                                  -               -                -                 -             -             -             -             -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -               -                -                 -             -             -             -             -                -          -             -             -

Term Loan D
Opening                                                  -               -                -                 -             -             -             -             -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -               -                -                 -             -             -             -             -                -          -             -             -

Term Loan E
Opening                                                  -               -                -                 -             -             -             -             -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -               -                -                 -             -             -             -             -                -          -             -             -

Term Loan F
Opening                                                  -               -                -                 -             -             -             -             -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -               -                -                 -             -             -             -             -                -          -             -             -

Revolving Credit A
Opening                                                  -               -                -                 -             -             -             -             -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -               -                -                 -             -             -             -             -                -          -             -             -

Term Loan G
Opening                                                  -               -                -                 -             -             -             -             -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -               -                -                 -             -             -             -             -                -          -             -             -




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Total Term Loans
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -


Term Loan A
Opening                                     12.0%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan B
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan D
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan E
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan F
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan H
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Wells Fargo Interest
Opening                                      0.0%
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Total Interest on Loans Loans
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Total Interest Expense                        -    -      -              -   -   -   -   -      -   -   -   -

      Interest Payments




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      Adjustments
Accured Interest                                   -     -      -              -   -   -   -   -      -   -   -   -

New Funding Requirement
Opening                                            -     -      -              -   -   -   -   -      -   -   -   -
      Funding Requests                             -     -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -     -      -              -   -   -   -   -      -   -   -   -


Borrowing Base
Net AR

Borrowing Base                                     -     -      -              -   -   -   -   -      -   -   -   -




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                                                       Q1-2016      Q1-2016     Q1-2016     Q2-2016     Q2-2016     Q2-2016     Q3-2016     Q3-2016     Q3-2016     Q4-2016     Q4-2016     Q4-2016     Fcst
Amounts in 000's                                        Jan-16      Feb-16      Mar-16       Apr-16     May-16       Jun-16      Jul-16     Aug-16      Sep-16       Oct-16     Nov-16      Dec-16      2016
Cash Flow
Net Income                                                 (11.1)      (11.1)      38.9        51.4        51.4        57.1        59.8        59.8        54.6         57.0       57.0         57.0      521.8
Total Adjustments                                                                                                                                                                                           -
 Adjustment to reconcile to net income                                                                                                                                                                      -
      Note Payable to Parent                                 -           -          -           -           -           -           -           -           -            -          -            -          -
      Non Cash Equity Infusion                               -           -          -           -           -           -           -           -           -            -          -            -          -
      Amortization of deferred financing fees                -           -          -           -           -           -           -           -           -            -          -            -          -
      Provision for doubtful accounts                        -           -          -           -           -           -           -           -           -            -          -            -          -
      Depreciation and amortization                          8.2         8.2        8.2         8.2         8.2         8.2         8.2         8.2         8.2          8.2        8.2          8.2       98.1
      Deferred rent                                          -           -          -           -           -           -           -           -           -            -          -            -          -
 Total Adjustment to reconcile to net income                (2.9)       (2.9)      47.1        59.6        59.6        65.3        67.9        67.9        62.8         65.2       65.2         65.2      619.9
 Operating Adjustments
  (Increase) Decrease in Assets
    Accounts Receivable                                   312.9          -          -           (1.7)       (1.6)       (1.7)       (2.7)       (2.7)       (2.7)       (2.5)       (2.5)       (2.5)     292.6
      Inventory                                             -            -          -            -           -           -           -           -           -           -           -           -          -
      Prepaid Expenses and Other                            -            -          -            -           -           -           -           -           -           -           -           -          -
      Other Long-Term Assets                                -            -          -            -           -           -           -           -           -           -           -           -          -
  Total (Increase) Decrease in Assets                     312.9          -          -           (1.7)       (1.6)       (1.7)       (2.7)       (2.7)       (2.7)       (2.5)       (2.5)       (2.5)     292.6
  Increase (Decrease) In Liabilities
      A/P and Accrued Expenses                              (3.9)       10.2       (20.5)      (16.7)      (23.2)       1.1         1.2         1.2         1.2          1.1        1.1          1.1      (46.0)
      Accrued Management Fees                                                                                                                                                                               -
      NYSIF Balance                                                                                                                                                                                         -
      Capital Lease Obligations                             -            -          -           -           -           -           -           -           -            -          -            -          -
      InterCompany Payable                                  -            -          -           -           -           -           -           -           -            -          -            -          -
      Deferred Tax Liability                                                                                                                                                                                -
  Total Increase (Decrease) In Liabilities                 (3.9)        10.2       (20.5)      (16.7)      (23.2)       1.1         1.2         1.2         1.2          1.1        1.1          1.1      (46.0)
 Total Operating Adjustments                              306.2          7.3        26.6        41.3        34.7       64.7        66.5        66.4        61.3         63.8       63.8         63.8      866.4

 Investing Adjustments
  Capital Expenditures                                      -            -          -           -           -           -           -           -           -            -          -            -             -
 Total Investing Adjustments                                -            -          -           -           -           -           -           -           -            -          -            -             -

 Financing Adjustments
   Accrued Interest                                         -            -          -           -           -           -           -           -           -            -          -            -          -
   ABL Net Borrowings                                       -            -          -           -           -           -           -           -           -            -          -            -          -
   Term Loan                                                -            -          -           -           -           -           -           -           -            -          -            -          -
   Capital Lease                                            -            -          -           -           -           -           -           -           -            -          -            -          -
   Incremental Funding                                      -            -          -           -           -           -           -           -           -            -          -            -          -
   New Loans                                                -            -          -           -           -           -           -           -           -            -          -            -          -
 Total Financing Adjustments                                -            -          -           -           -           -           -           -           -            -          -            -          -
Total Cash Flow                                           306.2          7.3       26.6        41.3        34.7        64.7        66.5        66.4        61.3         63.8       63.8         63.8      866.4




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                                                   Q1           Q1           Q1           Q2           Q2             Q2           Q3           Q3           Q3           Q4           Q4           Q4
Pittsburgh                                          Jan-16       Feb-16       Mar-16       Apr-16      May-16          Jun-16        Jul-16      Aug-16       Sep-16       Oct-16       Nov-16       Dec-16      FY'16 Total

Grand Total
                   Bulk                                  80.0         80.0         80.0         80.0         80.0           80.0         80.0         80.0         80.0         80.0         80.0         80.0
                   Lance                                420.0        420.0        420.0        425.0        425.0          425.0        432.9        432.9        432.9        440.3        440.3        440.3                 20,346.4
                   Lette                                 45.9         45.9         45.9         45.9         45.9           45.9         45.9         45.9         45.9         45.9         45.9         45.9                    484.4
                   Total Revenue                        545.9        545.9        545.9        550.8        550.8          550.8        558.8        558.8        558.8        566.2        566.2        566.2      6,664.9
Trips
          Bulk
                   VA PITTSBURGH HEALTH CARE SYS         n/a          n/a          n/a          n/a          n/a            n/a          n/a          n/a          n/a          n/a          n/a          n/a
                   Total                                 -            -            -            -            -              -            -            -            -            -            -            -

          Lance
                   VA PITTSBURGH HEALTH CARE SYS          495          495          495          495          495            495          495          495          495          495          495          495       5,940
                   UPM                                    275          275          275          292          292            292          309          309          309          324          324          324       3,600          49
                   MANORCARE                               75           75           75           75           75             75           75           75           75           75           75           75         900
                   LIFECARE HOSPITALS OF PGH               60           60           60           60           60             60           60           60           60           60           60           60         720
                   HEALTHSOUTH REHAB                       40           40           40           40           40             40           40           40           40           40           40           40         480
                   All Other                              455          455          455          455          455            455          464          464          464          473          473          473       5,542
                   Total                                1,400        1,400        1,400        1,417        1,417          1,417        1,443        1,443        1,443        1,468        1,468        1,468      17,182

          Lette
                   MANORCARE                              130         130          130          130          130            130          130          130          130          130          130           130        1560
                   UPM                                    125         125          125          125          125            125          125          125          125          125          125           125        1500
                   All Other                              400         400          400          400          400            400          400          400          400          400          400           400        4800
                   Total                                  655         655          655          655          655            655          655          655          655          655          655           655       7,860
                                                        2,055                                                                                                                                            2,123
Average Patient Charger: APC                                                                                                                                                                                68   0.0330032
APC
          Bulk
                     UNIVERSITY OF MARYLAND              n/a          n/a          n/a          n/a          n/a            n/a          n/a          n/a          n/a          n/a          n/a          n/a
                     Total                               -            -            -            -            -              -            -            -            -            -            -            -

          Lance
                   VA PITTSBURGH HEALTH CARE SYS         300          300          300          300          300            300          300          300          300          300          300          300
                   UPM                                   300          300          300          300          300            300          300          300          300          300          300          300
                   MANORCARE                             300          300          300          300          300            300          300          300          300          300          300          300
                   LIFECARE HOSPITALS OF PGH             300          300          300          300          300            300          300          300          300          300          300          300
                   HEALTHSOUTH REHAB                     300          300          300          300          300            300          300          300          300          300          300          300
                   All Other                             300          300          300          300          300            300          300          300          300          300          300          300
                   Total

          Lette
                   MANORCARE                               70           70           70           70             70           70           70           70           70           70           70           70
                   UPM                                     70           70           70           70             70           70           70           70           70           70           70           70
                   All Other                               70           70           70           70             70           70           70           70           70           70           70           70
                   Total



Revenue
          Bulk
                   VA PITTSBURGH HEALTH CARE SYS    80,000       80,000       80,000       80,000       80,000          80,000       80,000      80,000       80,000       80,000       80,000       80,000
                   Total                            80,000       80,000       80,000       80,000       80,000          80,000       80,000      80,000       80,000       80,000       80,000       80,000

          Lance
                   VA PITTSBURGH HEALTH CARE SYS   148,500      148,500      148,500      148,500      148,500         148,500     148,500      148,500      148,500      148,500      148,500      148,500      1,782,000
                   UPM                              82,500       82,500       82,500       87,450       87,450          87,450      92,697       92,697       92,697       97,332       97,332       97,332      1,079,937
                   MANORCARE                        22,500       22,500       22,500       22,500       22,500          22,500      22,500       22,500       22,500       22,500       22,500       22,500        270,000
                   LIFECARE HOSPITALS OF PGH        18,000       18,000       18,000       18,000       18,000          18,000      18,000       18,000       18,000       18,000       18,000       18,000        216,000
                   HEALTHSOUTH REHAB                12,000       12,000       12,000       12,000       12,000          12,000      12,000       12,000       12,000       12,000       12,000       12,000        144,000
                   All Other                       136,500      136,500      136,500      136,500      136,500         136,500     139,230      139,230      139,230      142,015      142,015      142,015      1,662,734
                   Total                           420,000      420,000      420,000      424,950      424,950         424,950     432,927      432,927      432,927      440,346      440,346      440,346      5,154,670

          Lette
                   MANORCARE                         9,100        9,100        9,100        9,100        9,100           9,100        9,100       9,100        9,100        9,100        9,100        9,100        109,200
                   UPM                               8,750        8,750        8,750        8,750        8,750           8,750        8,750       8,750        8,750        8,750        8,750        8,750        105,000
                   All Other                        28,000       28,000       28,000       28,000       28,000          28,000       28,000      28,000       28,000       28,000       28,000       28,000        336,000
                   Total                            45,850       45,850       45,850       45,850       45,850          45,850       45,850      45,850       45,850       45,850       45,850       45,850        550,200




                                                                                                                      Cost Savings
                                                          0%           0%           0%           0%              0%         0%            0%           0%           0%           0%           0%           0%




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DIRECT COSTS
Driver Compensation & Related              186.0      186.0      186.0      179.0      179.0      174.5      177.2      177.2      181.3      184.0      184.0      184.0      2,178.1   32.7%
         Ambulance                          34.1%      34.1%      34.1%      32.5%      32.5%      31.7%      31.7%      31.7%      32.5%      32.5%      32.5%      32.5%
                  Trips                     1,400  1,400  1,400  1,417  1,417  1,417  1,443  1,443  1,443  1,468  1,468  1,468
                  UHU                         0.32   0.32   0.32   0.32   0.32   0.33   0.33   0.33   0.32   0.32   0.32   0.32
                  Unit Hours                4,375  4,375  4,375  4,427  4,427  4,292  4,373  4,373  4,510  4,587  4,587  4,587
                  Unit Hour Cost          $ 36.0 $ 36.0 $ 36.0 $ 34.0 $ 34.0 $ 34.0 $ 34.0 $ 34.0 $ 34.0 $ 34.0 $ 34.0 $ 34.0
                  Expense                  157.5      157.5      157.5      150.5      150.5      145.9      148.7      148.7      153.3      156.0      156.0      156.0      1,838.0
                                           28.9%      28.9%      28.9%      27.3%      27.3%      26.5%      26.6%      26.6%      27.4%      27.5%      27.5%      27.5%
           Ambulette
                       Trips                  655    655    655    655    655    655    655    655    655    655    655    655
                       UHU                    0.55   0.55   0.55   0.55   0.55   0.55   0.55   0.55   0.56   0.56   0.56   0.56
                       Unit Hours           1,191  1,191  1,191  1,191  1,191  1,191  1,191  1,191  1,170  1,170  1,170  1,170
                       Unit Hour Cost     $ 23.9 $ 23.9 $ 23.9 $ 23.9 $ 23.9 $ 23.9 $ 23.9 $ 23.9 $ 23.9 $ 23.9 $ 23.9 $ 23.9
                       Expense              28.5       28.5       28.5       28.5       28.5       28.5       28.5       28.5       28.0       28.0       28.0       28.0       340.1
                                            5.2%       5.2%       5.2%       5.2%       5.2%       5.2%       5.1%       5.1%       5.0%       4.9%       4.9%       4.9%
                       Consolidated UHU     0.39       0.39       0.39       0.39       0.39       0.40       0.40       0.40       0.39       0.39       0.39       0.39
Benefits
  24.5%           1                         45.6       45.6       45.6       43.9       43.9       42.7       43.4       43.4       44.4       45.1       45.1       45.1       533.6
Workers Comp
                                            17.5       17.5       17.5       17.5       17.5       17.5       17.5       17.5       17.5       17.5       17.5       17.5       209.6
COPY/DISPATCH'S Compensation
   0.0%     1                                -          -          -          -          -          -          -          -          -          -          -          -           -
Fleet Maint Compensation
    4.0%       1                            21.8       21.8       21.8       22.0       22.0       22.0       22.4       22.4       22.4       22.6       22.6       22.6       266.6     4.0%
Repairs & Maintenance
   3.0%        1                            66.4       66.4       16.4       16.5       16.5       16.5       16.8       16.8       16.8       17.0       17.0       17.0       299.9     4.5%
Accident Costs
    4.7%       1                            25.7       25.7       25.7       25.9       25.9       25.9       26.3       26.3       26.3       26.6       26.6       26.6       313.2     4.7%
Fuel, Tolls & Parking Costs
  3.00%         1                           16.4       16.4       16.4       16.5       16.5       16.5       16.8       16.8       16.8       17.0       17.0       17.0       199.9     3.0%
Medical Supplies, Rentals & Repairs
  1.80%        1                              9.8       9.8        9.8        9.9           9.9     9.9       10.1       10.1       10.1       10.2       10.2       10.2       119.9     1.8%
Communications
  0.54%      1                                2.9       2.9        2.9        3.0           3.0     3.0        3.0        3.0        3.0        3.0        3.0        3.0        35.8     0.5%
Uniforms
  0.18%           1                           1.0       1.0        1.0        1.0           1.0     1.0        1.0        1.0        1.0        1.0        1.0        1.0        12.0     0.2%
Equipment
  0.56%           1                           3.1       3.1        3.1        3.1           3.1     3.1        3.1        3.1        3.1        3.2        3.2        3.2        37.3     0.6%
Health & Safety
  0.03%         1                                .2         .2         .2         .2         .2         .2         .2         .2         .2         .2         .2         .2       2.0    0.0%
Licenses & Permits
   0.07%       1                                 .4         .4         .4         .4         .4         .4         .4         .4         .4         .4         .4         .4       4.8    0.1%
SUB TOTAL - COST OF SERVICE                396.6      396.6      346.6      338.8      338.8      333.1      338.0      338.0      343.1      347.7      347.7      347.7      4,212.9

Gross Profit                               149.2      149.2      199.2      212.0      212.0      217.7      220.8      220.8      215.7      218.5      218.5      218.5      2,451.9
Gross Margin                               27.3%      27.3%      36.5%      38.5%      38.5%      39.5%      39.5%      39.5%      38.6%      38.6%      38.6%      38.6%       36.8%



INDIRECT COSTS

Administrative Staffing                     50.0       50.0       50.0       50.0       50.0       50.0       50.0       50.0       50.0       50.0       50.0       50.0        600.0   9.0%
Facility Costs                              27.2       27.2       27.2       27.2       27.2       27.2       27.2       27.2       27.2       27.2       27.2       27.2        326.6   4.9%
Insurance Auto/Liability                    26.8       26.8       26.8       26.8       26.8       26.8       26.8       26.8       26.8       26.8       26.8       26.8        321.3   4.8%
Professional Fees                            1.7        1.7        1.7        1.7        1.7        1.7        1.7        1.7        1.7        1.7        1.7        1.7         20.4   0.3%
All Other SG&A                              13.7       13.7       13.7       13.7       13.7       13.7       13.7       13.7       13.7       13.7       13.7       13.7        163.8   2.5%
Bad Debt                                    32.8       32.8       32.8       33.0       33.0       33.0       33.5       33.5       33.5       34.0       34.0       34.0        399.9   6.0%
TOTAL OPERATING EXPENSES                   152.1      152.1      152.1      152.4      152.4      152.4      152.9      152.9      152.9      153.3      153.3      153.3      1,832.1

Operating EBITDA                             (2.9)     (2.9)      47.1       59.6       59.6       65.3       67.9       67.9       62.8       65.2       65.2       65.2       619.9
                                            -0.5%     -0.5%       8.6%      10.8%      10.8%      11.8%      12.2%      12.2%      11.2%      11.5%      11.5%      11.5%
Depreciation                                  8.2       8.2        8.2        8.2           8.2     8.2        8.2        8.2        8.2        8.2        8.2        8.2        98.1

Net Income                                  (11.1)    (11.1)      38.9       51.4       51.4       57.1       59.8       59.8       54.6       57.0       57.0       57.0       521.8




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                                                     Q1-2016       Q1-2016       Q1-2016       Q2-2016       Q2-2016       Q2-2016       Q3-2016       Q3-2016       Q3-2016       Q4-2016       Q4-2016       Q4-2016       Fcst
                                       Dec-15        Jan-16         Feb-16        Mar-16        Apr-16        May-16        Jun-16        Jul-16        Aug-16        Sep-16        Oct-16        Nov-16        Dec-16


 1 Petty Cash
 2       Opening Balance                   1,000          1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000
 3       Adjustments
 4       Closing Balance                   1,000          1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000         1,000
 5
 6 Accounts Receivble
      Rolling 90 Day Sales                            1,637,550     1,637,550     1,637,550     1,642,500     1,647,450     1,652,400     1,660,377     1,668,354     1,676,331     1,683,750     1,691,170     1,698,589
      DSO Assumption                                       30.0          30.0          30.0          30.0          30.0          30.0          30.0          30.0          30.0          30.0          30.0          30.0
 7       Opening Balance                 858,791        858,791       545,850       545,850       545,850       547,500       549,150       550,800       553,459       556,118       558,777       561,250       563,723
         Sales                                          545,850       545,850       545,850       550,800       550,800       550,800       558,777       558,777       558,777       566,196       566,196       566,196
         Collections                                   (858,791)     (545,850)     (545,850)     (549,150)     (549,150)     (549,150)     (556,118)     (556,118)     (556,118)     (563,723)     (563,723)     (563,723)
 8       Adjustments
 9       Closing Balance                 858,791       545,850       545,850       545,850       547,500        549,150      550,800       553,459       556,118       558,777       561,250       563,723       566,196
10
11 Inventory
12       Opening Balance                  68,287        68,287        68,287        68,287        68,287         68,287       68,287        68,287        68,287        68,287        68,287        68,287        68,287
13       Adjustments
14       Closing Balance                  68,287        68,287        68,287        68,287        68,287         68,287       68,287        68,287        68,287        68,287        68,287        68,287        68,287
15
16 Total Prepaid Expenses
17        Opening Balance               (183,988)      (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)
18        Adjustments
19        Closing Balance               (183,988)      (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)     (183,988)
20
21 Total PP&E (Gross)
22        Opening Balance              3,634,115      3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115
23        Adjustments
24        Closing Balance              3,634,115      3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115     3,634,115
25
26 Accumulted Deprecation
27      Opening Balance                (3,571,070)   (3,571,070)   (3,579,243)   (3,587,417)   (3,595,590)   (3,603,764)   (3,611,938)   (3,620,111)   (3,628,285)   (3,636,458)   (3,644,632)   (3,652,805)   (3,660,979)
28      Adjustments                                      (8,174)       (8,174)       (8,174)       (8,174)       (8,174)       (8,174)       (8,174)       (8,174)       (8,174)       (8,174)       (8,174)       (8,174)
29      Closing Balance                (3,571,070)   (3,579,243)   (3,587,417)   (3,595,590)   (3,603,764)   (3,611,938)   (3,620,111)   (3,628,285)   (3,636,458)   (3,644,632)   (3,652,805)   (3,660,979)   (3,669,152)
30
31 Total Other Assets
32       Opening Balance                  49,449        49,449        49,449        49,449        49,449         49,449       49,449        49,449        49,449        49,449        49,449        49,449        49,449
33       Adjustments
34       Closing Balance                  49,449        49,449        49,449        49,449        49,449         49,449       49,449        49,449        49,449        49,449        49,449        49,449        49,449
35
36 Goodwill
37      Opening Balance                (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)
38      CapEx
39      Closing Balance                (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)   (3,165,342)
40
41        Total Assets                 (2,308,758)   (2,629,872)   (2,638,046)   (2,646,219)   (2,652,743)   (2,659,267)   (2,665,790)   (2,671,305)   (2,676,819)   (2,682,334)   (2,688,034)   (2,693,735)   (2,699,435)
42
43 Total Capital Lease ST Obligation
44        Opening Balance                  (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)
45        Adjustments
46        Closing Balance                  (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)       (4,374)
47
48   Accounts Payable
                                                       418,336       427,503       430,559       437,811        438,998      440,185       441,463       442,696       443,928       445,115       446,302       447,489
                                                         100.0         100.0          95.0          90.0           85.0         85.0          85.0          85.0          85.0          85.0          85.0          85.0
49        Opening Balance                468,676       468,676       464,817       475,003       454,479        437,811      414,609       415,730       416,937       418,101       419,266       420,387       421,507




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                                                   195,106        195,106        145,106        145,793        145,793        145,793        146,900        146,900        146,900        147,930        147,930        147,930
                                                  (198,965)      (184,920)      (165,631)      (162,460)      (168,995)      (144,672)      (145,693)      (145,736)      (145,736)      (146,809)      (146,809)      (146,809)
50            Adjustments
51            Closing Balance       468,676        464,817        475,003        454,479        437,811        414,609        415,730        416,937        418,101        419,266        420,387        421,507        422,628
52
53 Total Accrued Interest
54       Opening Balance                 -              -              -              -              -               -             -              -              -              -              -              -              -
55       Adjustments
56       Closing Balance                 -              -              -              -              -               -             -              -              -              -              -              -              -
57
58 LT Debt
59       Opening Balance                 -              -              -              -              -               -             -              -              -              -              -              -              -
60       Adjustments
61       Closing Balance                 -              -              -              -              -               -             -              -              -              -              -              -              -
62
63 Total Accrued Expense
64       Opening Balance            187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126
65       Adjustments
66       Closing Balance            187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126        187,126
67
68 Capital Lease - Obligations
69       Opening Balance               2,845          2,845          2,845          2,845          2,845          2,845         2,845          2,845          2,845          2,845          2,845          2,845          2,845
70       Adjustments
71       Closing Balance               2,845          2,845          2,845          2,845          2,845          2,845         2,845          2,845          2,845          2,845          2,845          2,845          2,845
72
73 InterCompany Payables
74       Opening Balance         (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)
75       Adjustments
76       Closing Balance         (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)   (14,907,778)
77
78 Revolver
79       Opening Balance                 -              -              -              -              -               -             -              -              -              -              -              -              -
80       Adjustments
81       Closing Balance                 -              -              -              -              -               -             -              -              -              -              -              -              -
82
83   Total Liabilities           (14,253,505)   (14,257,364)   (14,247,178)   (14,267,702)   (14,284,370)   (14,307,572)   (14,306,451)   (14,305,244)   (14,304,080)   (14,302,915)   (14,301,795)   (14,300,674)   (14,299,553)
84
85   Equity
86            Opening Balance    11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747
87            Adjustments
88            Closing Balance    11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747     11,944,747

     Balance                             -        (317,256)      (335,615)      (323,264)      (313,120)      (296,442)      (304,086)      (310,808)      (317,487)      (324,165)      (330,987)      (337,808)      (344,629)




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                                               Q1           Q1         Q1            Q2      Q2       Q2      Q3      Q3      Q3     Q4      Q4      Q4
                                       Q1-2016      Q1-2016      Q1-2016     Q2-2016    Q2-2016 Q2-2016 Q3-2016 Q3-2016 Q3-2016 Q4-2016 Q4-2016 Q4-2016                           Fcst
Amounts in 000's                        Jan-16       Feb-16      Mar-16       Apr-16    May-16   Jun-16  Jul-16  Aug-16  Sep-16 Oct-16 Nov-16 Dec-16                              2016

  Service Revenue                          968.3        968.3       968.3     1,004.8    1,004.8    1,004.8    1,020.2    1,020.2    1,020.2    1,035.8    1,035.8    1,035.8    12,087.3
  Other Revenues                             -            -           -           -          -          -          -          -          -          -          -          -           -
   Total Operating Revenue                 968.3        968.3       968.3     1,004.8    1,004.8    1,004.8    1,020.2    1,020.2    1,020.2    1,035.8    1,035.8    1,035.8    12,087.3

Driver Compensation & Related              423.2        380.9       380.9       389.5      389.5     370.0      377.5      377.5      367.3      374.6      374.6      374.6       4,580
Benefits                                    84.6         76.2        76.2        77.9       77.9      74.0       75.5       75.5       73.5       74.9       74.9       74.9         916
Workers Comp                                25.3         25.3        25.3        25.3       25.3      25.3       25.3       25.3       25.3       25.3       25.3       25.3         304
COPY/DISPATCH'S Compensation                 -            -           -           -          -         -          -          -          -          -          -          -           -
Fleet Maint Compensation                    53.6         53.6        53.6        45.2       45.2      45.2       45.9       45.9       45.9       46.6       46.6       46.6         574
Repairs & Maintenance                       19.4         19.4        19.4        20.1       20.1      20.1       20.4       20.4       20.4       20.7       20.7       20.7         242
Accident Costs                              29.0         29.0        29.0        30.1       30.1      30.1       30.6       30.6       30.6       31.1       31.1       31.1         363
Fuel, Tolls & Parking Costs                 22.3         22.3        22.3        23.1       23.1      23.1       23.5       23.5       23.5       23.8       23.8       23.8         278
Medical Supplies, Rentals & Repairs         17.4         17.4        17.4        18.1       18.1      18.1       18.4       18.4       18.4       18.6       18.6       18.6         218
Communications                               5.2          5.2         5.2         5.4        5.4       5.4        5.5        5.5        5.5        5.6        5.6        5.6          65
Uniforms                                     1.7          1.7         1.7         1.8        1.8       1.8        1.8        1.8        1.8        1.9        1.9        1.9          22
Equipment                                    5.4          5.4         5.4         5.6        5.6       5.6        5.7        5.7        5.7        5.8        5.8        5.8          68
Health & Safety                                .3           .3          .3          .3         .3        .3         .3         .3         .3         .3         .3         .3          4
Licenses & Permits                             .7           .7          .7          .7         .7        .7         .7         .7         .7         .7         .7         .7          9
SUB TOTAL - COST OF SERVICE                688.2        637.5       637.5       643.2      643.2     619.9      631.1      631.1      618.9      630.0      630.0      630.0       7,640

Gross Profit                               280.1        330.8       330.8       361.6      361.6     384.9      389.1      389.1      401.3      405.8      405.8      405.8       4,447
GP %                                       28.9%        34.2%       34.2%       36.0%      36.0%     38.3%      38.1%      38.1%      39.3%      39.2%      39.2%      39.2%        36.8%

Administrative Staffing                     85.6         85.6        85.6        85.6       85.6      85.6       85.6       85.6       85.6       85.6       85.6       85.6       1,027
Facility Costs                              19.7         19.7        19.7        19.7       19.7      19.7       19.7       19.7       19.7       19.7       19.7       19.7         237
Insurance Auto/Liability                    50.4         50.4        50.4        50.4       50.4      50.4       50.4       50.4       50.4       50.4       50.4       50.4         605
Professional Fees                            2.5          2.5         2.5         2.5        2.5       2.5        2.5        2.5        2.5        2.5        2.5        2.5          29
All Other SG&A                              10.0         10.0        10.0        10.0       10.0      10.0       10.0       10.0       10.0       10.0       10.0       10.0         120
Bad Debt                                    58.1         58.1        58.1        60.3       60.3      60.3       61.2       61.2       61.2       62.1       62.1       62.1         725
TOTAL OPERATING EXPENSES                   226.3        226.3       226.3       228.5      228.5     228.5      229.4      229.4      229.4      230.3      230.3      230.3       2,743

EBITDA                                      53.8        104.5       104.5       133.1      133.1     156.4      159.8      159.8      172.0      175.5      175.5      175.5       1,703    3,460.7
                                             5.6%        10.8%       10.8%       13.2%      13.2%      15.6%      15.7%      15.7%      16.9%      16.9%      16.9%      16.9%      14.1%
Article 9 Process                                                                                                                                                                    -
Interest Expense                             -            -           -           -          -         -          -          -          -          -          -          -           -
Capital Leases                               -            -           -           -          -         -          -          -          -          -          -          -           -
Depreciation                                12.3         12.3        12.3        12.3       12.3      12.3       12.3       12.3       12.3       12.3       12.3       12.3         147
All Other                                    -            -           -           -          -         -          -          -          -          -          -          -           -
Income Tax                                   -            -           -           -          -         -          -          -          -          -          -          -           -
Subtotal                                    12.3         12.3        12.3        12.3       12.3      12.3       12.3       12.3       12.3       12.3       12.3       12.3         147

Net Income                                  41.6         92.3        92.3       120.9      120.9     144.2      147.5      147.5      159.7      163.2      163.2      163.2       1,556




                                                                                         HV - P&L
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            Amounts in 000's       Dec-15       Jan-16       Feb-16       Mar-16       Apr-16         May-16       Jun-16       Jul-16       Aug-16       Sep-16       Oct-16       Nov-16       Dec-16

Current Assets
  Cash and cash equivalents             2.6          5.6        100.0        204.5        273.0          340.7        430.9        526.1        620.9        664.4        837.4      1,010.5     1,183.5
  Patient Account Receivables         942.7        968.3        968.3        968.3        980.4          992.6      1,004.8      1,009.9      1,015.1      1,020.2      1,025.4      1,030.6     1,035.8
  Inventory                           170.4        170.4        170.4        170.4        170.4          170.4        170.4        170.4        170.4        170.4        170.4        170.4       170.4
  Prepaid and other curnt assets        -            -            -            -            -              -            -            -            -            -            -            -           -
Total Current Assets                1,115.7      1,144.4      1,238.7      1,343.2      1,423.9        1,503.8      1,606.1      1,706.4      1,806.4      1,855.1      2,033.3      2,211.5     2,389.7
Property, Plant and Equipment
  Property, Plant and Equipment      3,151.8      3,151.8      3,151.8      3,151.8      3,151.8        3,151.8      3,151.8     3,151.8       3,151.8      3,151.8      3,151.8      3,151.8     3,151.8
  Accumulated Depreciation          (2,803.5)    (2,815.8)    (2,828.0)    (2,840.3)    (2,852.6)      (2,864.8)    (2,877.1)   (2,889.3)     (2,901.6)    (2,913.9)    (2,926.1)    (2,938.4)   (2,950.7)
Property and equipment, net            348.3        336.1        323.8        311.5        299.3          287.0        274.8       262.5         250.2        238.0        225.7        213.4       201.2
  Other Assets
  Goodwill                               -           -            -            -            -              -            -            -            -            -            -            -            -
  Other Assets                           -           -            -            -            -              -            -            -            -            -            -            -            -
Total Other Assets                       -           -            -            -            -              -            -            -            -            -            -            -            -
Total Assets                        1,464.0      1,480.4      1,562.5      1,654.8      1,723.2        1,790.8      1,880.8      1,968.9      2,056.7      2,093.1      2,259.0      2,425.0     2,590.9


Current Operating Liabilities
Accounts payable                    1,436.5      1,411.3      1,349.9      1,349.9      1,297.5        1,244.2      1,190.0      1,130.6      1,070.9        947.6        950.3        953.0       955.8
Accrued Management Fees                 -            -            -            -            -              -            -            -            -            -            -            -           -
NYSIF Balance                           -            -            -            -            -              -            -            -            -            -            -            -           -
Accrued expenses                      820.2        820.2        820.2        820.2        820.2          820.2        820.2        820.2        820.2        820.2        820.2        820.2       820.2
InterCompany Balance                    -            -            -            -            -              -            -            -            -            -            -            -           -
ABL Line                                -            -            -            -            -              -            -            -            -            -            -            -           -
   Total Current Liabilities        2,256.6      2,231.4      2,170.1      2,170.1      2,117.6        2,064.4      2,010.2      1,950.8      1,891.1      1,767.8      1,770.5      1,773.2     1,775.9

Other Long Term Liabilities
Term Loan                                -            -           -            -            -              -            -            -            -            -            -            -           -
Accrued Interest on Term Debt            -            -           -            -            -              -            -            -            -            -            -            -           -
Incremental Funding                      -            -          51.2         51.2         51.2           51.2         51.2         51.2         51.2         51.2         51.2         51.2        51.2
Capital Lease                           (4.8)        (4.8)       (4.8)        (4.8)        (4.8)          (4.8)        (4.8)        (4.8)        (4.8)        (4.8)        (4.8)        (4.8)       (4.8)
Deferred Rent Payable
Deferred Tax Liability
Non Current Liabilitites                (4.8)        (4.8)       46.5         46.5         46.5           46.5         46.5         46.5         46.5         46.5         46.5         46.5        46.5
Total Liabilities                   2,251.9      2,226.7      2,216.5      2,216.5      2,164.1        2,110.8      2,056.7      1,997.3      1,937.5      1,814.2      1,817.0      1,819.7     1,822.4

Common Equity                        (787.8)      (746.3)      (654.0)      (561.8)      (440.9)        (320.0)      (175.9)        (28.4)      119.1        278.8        442.1        605.3       768.5
Total Equity                         (787.8)      (746.3)      (654.0)      (561.8)      (440.9)        (320.0)      (175.9)        (28.4)      119.1        278.8        442.1        605.3       768.5

Total Liabilities & Net Assets           -           -            -            -            -              -            -            -            -             -            -            -           -




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                                                Q1-2016           Q1-2016           Q1-2016              Q2-2016             Q2-2016         Q2-2016         Q3-2016         Q3-2016         Q3-2016            Q4-2016         Q4-2016         Q4-2016
Days Per Month                                               32                28                 29                    29              31              29              31              31                 29              31              29           31
                                                Jan-16            Feb-16            Mar-16                Apr-16             May-16          Jun-16           Jul-16         Aug-16          Sep-16             Oct-16          Nov-16          Dec-16
Beginning Cash Balance                                   -              5.6              100.0                 204.5             273.0            340.7            430.9         526.1            620.9              664.4           837.4         1,010.5
Net Cash Flow                                            -             43.2              104.5                  68.5              67.7             90.1             95.2          94.8             43.5              173.0           173.0           173.0
Projected Ending Cash Flow                               -             48.8              204.5                 273.0             340.7            430.9            526.1         620.9            664.4              837.4         1,010.5         1,183.5

Minimum Cash Balance                                                  100.0              100.0                   100.0           100.0           100.0            100.0          100.0            100.0             100.0           100.0           100.0

Projected Funding Requirement                                          51.2             (104.5)                  (173.0)         (240.7)         (330.9)         (426.1)         (520.9)         (564.4)            (737.4)         (910.5)       (1,083.5)


Term Loan A
Opening                                                  -                 -                  -                     -               -               -               -               -                  -               -               -              -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                     -               -               -               -               -                  -               -               -              -

Term Loan B
Opening                                                  -                 -                  -                     -               -               -               -               -                  -               -               -              -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                     -               -               -               -               -                  -               -               -              -

Term Loan D
Opening                                                  -                 -                  -                     -               -               -               -               -                  -               -               -              -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                     -               -               -               -               -                  -               -               -              -

Term Loan E
Opening                                                  -                 -                  -                     -               -               -               -               -                  -               -               -              -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                     -               -               -               -               -                  -               -               -              -

Term Loan F
Opening                                                  -                 -                  -                     -               -               -               -               -                  -               -               -              -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                     -               -               -               -               -                  -               -               -              -

Revolving Credit A
Opening                                                  -                 -                  -                     -               -               -               -               -                  -               -               -              -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                     -               -               -               -               -                  -               -               -              -




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Term Loan G
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -


Total Term Loans
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -


Term Loan A
Opening                                     12.0%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan B
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan D
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan E
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan F
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -




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Term Loan H
Opening                                     2.5%   -      -      -                -      -      -      -      -      -      -      -      -
      Interest Expense                             -      -      -                -      -      -      -      -      -      -      -      -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -      -      -                -      -      -      -      -      -      -      -      -

Wells Fargo Interest
Opening                                     0.0%
      Interest Expense                             -      -      -                -      -      -      -      -      -      -      -      -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -      -      -                -      -      -      -      -      -      -      -      -

Total Interest on Loans Loans
Opening                                            -      -      -                -      -      -      -      -      -      -      -      -
      Total Interest Expense                       -      -      -                -      -      -      -      -      -      -      -      -

      Interest Payments
      Adjustments
Accured Interest                                   -      -      -                -      -      -      -      -      -      -      -      -

New Funding Requirement
Opening                                            -      -     51.2             51.2   51.2   51.2   51.2   51.2   51.2   51.2   51.2   51.2
      Funding Requests                             -     51.2    -                -      -      -      -      -      -      -      -      -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -     51.2   51.2             51.2   51.2   51.2   51.2   51.2   51.2   51.2   51.2   51.2


Borrowing Base
Net AR

Borrowing Base                                     -      -      -                -      -      -      -      -      -      -      -      -




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                                             Q1           Q1           Q1           Q2             Q2             Q2             Q3              Q3             Q3             Q4             Q4             Q4             FY'16 Total
Hudson Valley                                 Jan-16       Feb-16       Mar-16       Apr-16         May-16         Jun-16             Jul-16        Aug-16       Sep-16         Oct-16         Nov-16         Dec-16

Grand Total
              Bulk                                235.0        235.0        235.0          235.0          235.0          235.0          235.0           235.0          235.0          235.0          235.0          235.0
              Lance                               727.4        727.4        727.4          763.8          763.8          763.8          779.1           779.1          779.1          794.7          794.7          794.7
              Lette                                 5.8          5.8          5.8            6.0            6.0            6.0            6.1             6.1            6.1            6.1            6.1            6.1
              Total Revenue                       968.3        968.3        968.3        1,004.8        1,004.8        1,004.8        1,020.2         1,020.2        1,020.2        1,035.8        1,035.8        1,035.8        12,087.3

Trips
        Subsidy
            Putnam County                          n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Unionvale 911                          n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Pawling 911                            n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Beekman 911                            n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Millbrook 911                          n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            All Other                              n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Total                                  -            -            -              -              -              -               -              -              -              -              -              -
                                                                                                                                                                                                                                                         Growth Assumptions
        Lance                                        0%           0%           0%            5%             0%             0%              5%             0%             0%             5%             0%              0%                   Q1      Q2        Q3       Q4
            Health Quest                            620          620          620           651            651            651             664            664            664            677            677             677          7,837    0.0%    5.0%       2.0%     2.0%
            New York Presbyterian of Huds           210          210          210           221            221            221             225            225            225            229            229             229          2,654    0.0%    5.0%       2.0%     2.0%
            Putnam County                           220          220          220           231            231            231             236            236            236            240            240             240          2,781    0.0%    5.0%       2.0%     2.0%
            Medicaid                                 50           50           50            53             53             53              54             54             54             55             55              55            632    0.0%    5.0%       2.0%     2.0%
            Pawling 911                              45           45           45            47             47             47              48             48             48             49             49              49            569    0.0%    5.0%       2.0%     2.0%
            Wappinger 911                           130          130          130           137            137            137             139            139            139            142            142             142          1,643    0.0%    5.0%       2.0%     2.0%
            VA                                      100          100          100           105            105            105             107            107            107            109            109             109          1,264    0.0%    5.0%       2.0%     2.0%
            All Other                               525          525          525           551            551            551             562            562            562            574            574             574          6,636    0.0%    5.0%       2.0%     2.0%
            Total                                 1,900        1,900        1,900         1,995          1,995          1,995           2,035          2,035          2,035          2,076          2,076           2,076         24,016
                                                                                                                                                                                                                  1.09242            176
        Blank
            Health Quest                              2            2            2           2.04           2.04           2.04             2.1            2.1            2.1            2.1            2.1            2.1           24.72    1380
            New York Presbyterian of Huds             5            5            5            5.1            5.1            5.1            5.25           5.25           5.25           5.25           5.25           5.25            61.8
            All Other                                 3            3            3           3.06           3.06           3.06            3.15           3.15           3.15           3.15           3.15           3.15           37.08
            Total                                   10           10           10             10             10             10              11             11             11             11             11             11             124

Average Patient Charger: APC
        Subsidary
            Putnam County                          n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Unionvale 911                          n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Pawling 911                            n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Beekman 911                            n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Millbrook 911                          n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            All Other                              n/a          n/a          n/a            n/a            n/a            n/a             n/a            n/a            n/a            n/a            n/a            n/a
            Total                                  -            -            -              -              -              -               -              -              -              -              -              -

        Lance
            Health Quest                           340          340          340            340            340            340             340            340            340            340            340            340
            New York Presbyterian of Huds          315          315          315            315            315            315             315            315            315            315            315            315
            Putnam County                          432          432          432            432            432            432             432            432            432            432            432            432
            Medicaid                               290          290          290            290            290            290             290            290            290            290            290            290
            Pawling 911                            540          540          540            540            540            540             540            540            540            540            540            540
            Wappinger 911                          475          475          475            475            475            475             475            475            475            475            475            475
            VA                                     350          350          350            350            350            350             350            350            350            350            350            350
            All Other                              419          419          419            419            419            419             419            419            419            419            419            419
            Total

        Lette
             Health Quest                           670          670          670            670            670            670             670            670            670            670            670            670
             New York Presbyterian of Huds          600          600          600            600            600            600             600            600            600            600            600            600




                                                                                                                                               Hudson Valley
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               All Other                              500              500              500              500            500            500            500            500            500            500            500            500
               Total                               1,770            1,770            1,770            1,770          1,770          1,770          1,770          1,770          1,770          1,770          1,770          1,770

Revenue
       Subsidy
           Putnam County                         106,780          106,780          106,780          106,780        106,780        106,780        106,780        106,780        106,780        106,780        106,780        106,780
           Unionvale 911                          12,515           12,515           12,515           12,515         12,515         12,515         12,515         12,515         12,515         12,515         12,515         12,515
           Pawling 911                            26,735           26,735           26,735           26,735         26,735         26,735         26,735         26,735         26,735         26,735         26,735         26,735
           Beekman 911                            31,026           31,026           31,026           31,026         31,026         31,026         31,026         31,026         31,026         31,026         31,026         31,026
           Millbrook 911                          15,985           15,985           15,985           15,985         15,985         15,985         15,985         15,985         15,985         15,985         15,985         15,985
           All Other                              41,959           41,959           41,959           41,959         41,959         41,959         41,959         41,959         41,959         41,959         41,959         41,959
           Total                                 235,000          235,000          235,000          235,000        235,000        235,000        235,000        235,000        235,000        235,000        235,000        235,000

         Ambulance
            Health Quest                         210,800          210,800          210,800          221,340        221,340        221,340        225,767        225,767        225,767        230,282        230,282        230,282    2,664,567
            New York Presbyterian of Huds         66,150           66,150           66,150           69,458         69,458         69,458         70,847         70,847         70,847         72,264         72,264         72,264      836,153
            Putnam County                         95,040           95,040           95,040           99,792         99,792         99,792        101,788        101,788        101,788        103,824        103,824        103,824    1,201,330
            Medicaid                              14,500           14,500           14,500           15,225         15,225         15,225         15,530         15,530         15,530         15,840         15,840         15,840      183,284
            Pawling 911                           24,300           24,300           24,300           25,515         25,515         25,515         26,025         26,025         26,025         26,546         26,546         26,546      307,158
            Wappinger 911                         61,750           61,750           61,750           64,838         64,838         64,838         66,134         66,134         66,134         67,457         67,457         67,457      780,536
            VA                                    35,000           35,000           35,000           36,750         36,750         36,750         37,485         37,485         37,485         38,235         38,235         38,235      442,409
            All Other                            219,905          219,905          219,905          230,901        230,901        230,901        235,519        235,519        235,519        240,229        240,229        240,229    2,779,662
            Total                                727,445          727,445          727,445          763,818        763,818        763,818        779,094        779,094        779,094        794,676        794,676        794,676    9,195,099

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             Health Quest                          1,340            1,340            1,340            1,367          1,367          1,367          1,407          1,407          1,407          1,407          1,407          1,407      16,562
             New York Presbyterian of Huds         3,000            3,000            3,000            3,060          3,060          3,060          3,150          3,150          3,150          3,150          3,150          3,150      37,080
             All Other                             1,500            1,500            1,500            1,530          1,530          1,530          1,575          1,575          1,575          1,575          1,575          1,575      18,540
             Total                               5,840.0            5,840            5,840            5,957          5,957          5,957          6,132          6,132          6,132          6,132          6,132          6,132      72,182
                                                                                                                              Cost Savings
                                                     0%               0%               0%               0%             0%             0%             0%             0%             0%             0%             0%             0%
DIRECT COSTS

Driver Compensation & Related                      423.2            380.9            380.9            389.5          389.5          370.0          377.5          377.5          367.3          374.6          374.6          374.6     4,580.0
       Ambulance                                   43.7%            39.3%            39.3%            38.8%          38.8%          36.8%          37.0%          37.0%          36.0%          36.2%          36.2%          36.2%
          Trips                                   1,900            1,900            1,900            1,995          1,995          1,995          2,035          2,035          2,035          2,076          2,076          2,076
               UHU                                  0.18             0.19             0.19             0.19           0.19           0.20           0.20           0.20           0.20           0.20           0.20           0.20
               Unit Hours                        10,556           10,000           10,000           10,500         10,500          9,975         10,175         10,175         10,175         10,378         10,378         10,378
               Unit Hour Cost                $      40.0      $      38.0      $      38.0      $      37.0    $      37.0    $      37.0    $      37.0    $      37.0    $      36.0    $      36.0    $      36.0    $      36.0
               Expense                             422.2            380.0            380.0            388.5          388.5          369.1          376.5          376.5          366.3          373.6          373.6          373.6      4,568.3
                                                  43.6%            39.2%            39.2%            38.7%          38.7%          36.7%          36.9%          36.9%          35.9%          36.1%          36.1%          36.1%
         Ambulette
            Trips                                    10               10               10               10             10             10             11             11             11             11             11             11
               UHU                                  0.19             0.19             0.19             0.19           0.19           0.19           0.19           0.19           0.19           0.19           0.19           0.19
               Unit Hours                            53               53               53               54             54             54             55             55             55             55             55             55
               Unit Hour Cost                $      18.0      $      18.0      $      18.0      $      18.0    $      18.0    $      18.0    $      18.0    $      18.0    $      18.0    $      18.0    $      18.0    $      18.0
               Expense                                   .9               .9               .9           1.0            1.0            1.0            1.0            1.0            1.0            1.0            1.0            1.0         11.7
                                                    0.1%             0.1%             0.1%             0.1%           0.1%           0.1%           0.1%           0.1%           0.1%           0.1%           0.1%           0.1%

Benefits
 20.0%     1                                        84.6             76.2             76.2             77.9           77.9           74.0           75.5           75.5           73.5           74.9           74.9           74.9       916.0
Workers Comp
  4.0%     1                                        25.3             25.3             25.3             25.3           25.3           25.3           25.3           25.3           25.3           25.3           25.3           25.3       303.9
COPY/DISPATCH'S Compensation
  0.0%     1                                         -                -                -                -              -              -              -              -              -              -              -              -            -
Fleet Maint Compensation
  4.5%     1                                        53.6             53.6             53.6             45.2           45.2           45.2           45.9           45.9           45.9           46.6           46.6           46.6       573.9
Repairs & Maintenance
  2.0%     1                                        19.4             19.4             19.4             20.1           20.1           20.1           20.4           20.4           20.4           20.7           20.7           20.7       241.7
Accident Costs




                                                                                                                                                         Hudson Valley
                                                                                                                                                         A3745
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  3.0%   1                             29.0    29.0    29.0    30.1    30.1    30.1    30.6       30.6    30.6    31.1    31.1    31.1    362.6
Fuel, Tolls & Parking Costs
 2.30%   1                             22.3    22.3    22.3    23.1    23.1    23.1    23.5       23.5    23.5    23.8    23.8    23.8    278.0
Medical Supplies, Rentals & Repairs
 1.80%   1                             17.4    17.4    17.4    18.1    18.1    18.1    18.4       18.4    18.4    18.6    18.6    18.6    217.5
Communications
 0.54%   1                              5.2     5.2     5.2     5.4     5.4     5.4     5.5        5.5     5.5     5.6     5.6     5.6      64.9
Uniforms
 0.18%   1                              1.7     1.7     1.7     1.8     1.8     1.8     1.8        1.8     1.8     1.9     1.9     1.9      21.8
Equipment
 0.56%   1                              5.4     5.4     5.4     5.6     5.6     5.6     5.7        5.7     5.7     5.8     5.8     5.8      67.7
Health & Safety
 0.03%   1                               .3      .3      .3      .3      .3      .3      .3         .3      .3      .3      .3      .3       3.7
Licenses & Permits
 0.07%   1                               .7      .7      .7      .7      .7      .7      .7         .7      .7      .7      .7      .7       8.7
SUB TOTAL - COST OF SERVICE           688.2   637.5   637.5   643.2   643.2   619.9   631.1      631.1   618.9   630.0   630.0   630.0   7,640.5

Gross Profit                          280.1   330.8   330.8   361.6   361.6   384.9   389.1      389.1   401.3   405.8   405.8   405.8   4,446.8
Gross Margin                          28.9%   34.2%   34.2%   36.0%   36.0%   38.3%   38.1%     38.1%    39.3%   39.2%   39.2%   39.2%    36.8%



INDIRECT COSTS

Administrative Staffing                85.6    85.6    85.6    85.6    85.6    85.6    85.6       85.6    85.6    85.6    85.6    85.6   1,026.7
Facility Costs                         19.7    19.7    19.7    19.7    19.7    19.7    19.7       19.7    19.7    19.7    19.7    19.7     236.8
Insurance Auto/Liability               50.4    50.4    50.4    50.4    50.4    50.4    50.4       50.4    50.4    50.4    50.4    50.4     605.0
Professional Fees                       2.5     2.5     2.5     2.5     2.5     2.5     2.5        2.5     2.5     2.5     2.5     2.5      29.5
All Other SG&A                         10.0    10.0    10.0    10.0    10.0    10.0    10.0       10.0    10.0    10.0    10.0    10.0     120.0
Bad Debt                               58.1    58.1    58.1    60.3    60.3    60.3    61.2       61.2    61.2    62.1    62.1    62.1     725.2
TOTAL OPERATING EXPENSES              226.3   226.3   226.3   228.5   228.5   228.5   229.4      229.4   229.4   230.3   230.3   230.3   2,743.3

Operating EBITDA                       53.8   104.5   104.5   133.1   133.1   156.4   159.8      159.8   172.0   175.5   175.5   175.5   1,703.5
                                      5.6%    10.8%   10.8%   13.2%   13.2%   15.6%   15.7%     15.7%    16.9%   16.9%   16.9%   16.9%    14.1%
Depreciation                           12.3    12.3    12.3    12.3    12.3    12.3    12.3       12.3    12.3    12.3    12.3    12.3    147.1

Net Income                             41.6    92.3    92.3   120.9   120.9   144.2   147.5      147.5   159.7   163.2   163.2   163.2   1,556.3


                                      170.8   170.8   170.8   173.5   173.5   173.5   223.0      223.0   223.0   223.0   223.0   223.0   2,370.8




                                                                                         Hudson Valley
                                                                                         A3746
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                                                       Q1-2016      Q1-2016     Q1-2016   Q2-2016     Q2-2016     Q2-2016     Q3-2016     Q3-2016     Q3-2016     Q4-2016     Q4-2016     Q4-2016     Fcst
Amounts in 000's                                        Jan-16      Feb-16      Mar-16     Apr-16     May-16       Jun-16      Jul-16     Aug-16      Sep-16       Oct-16     Nov-16      Dec-16      2016
Cash Flow
Net Income                                                 41.6         92.3       92.3     120.9       120.9       144.2       147.5       147.5       159.7        163.2      163.2        163.2     1,556.3
Total Adjustments                                                                                                                                                                                          -
 Adjustment to reconcile to net income                                                                                                                                                                     -
      Note Payable to Parent                                                                                                                                                                               -
      Non Cash Equity Infusion                                                                                                                                                                             -
      Amortization of deferred financing fees                                                                                                                                                              -
      Provision for doubtful accounts                       -            -          -         -           -           -           -           -           -            -          -            -           -
      Depreciation and amortization                        12.3         12.3       12.3      12.3        12.3        12.3        12.3        12.3        12.3         12.3       12.3         12.3       147.1
      Deferred rent                                         -            -          -         -           -           -           -           -           -            -          -            -           -
 Total Adjustment to reconcile to net income               53.8        104.5      104.5     133.1       133.1       156.4       159.8       159.8       172.0        175.5      175.5        175.5     1,703.5
 Operating Adjustments
  (Increase) Decrease in Assets
    Accounts Receivable                                    (25.6)        -          -        (12.2)      (12.2)      (12.2)       (5.2)       (5.2)       (5.2)       (5.2)       (5.2)       (5.2)      (93.1)
      Inventory                                              -           -          -          -           -           -           -           -           -           -           -           -           -
      Prepaid Expenses and Other                             -           -          -          -           -           -           -           -           -           -           -           -           -
      Other Long-Term Assets                                 -           -          -          -           -           -           -           -           -           -           -           -           -
  Total (Increase) Decrease in Assets                      (25.6)        -          -        (12.2)      (12.2)      (12.2)       (5.2)       (5.2)       (5.2)       (5.2)       (5.2)       (5.2)      (93.1)
  Increase (Decrease) In Liabilities
      A/P and Accrued Expenses                             (25.2)      (61.4)       -        (52.4)      (53.3)      (54.1)      (59.4)      (59.8)     (123.3)        2.7        2.7          2.7      (480.7)
      Accrued Management Fees                                                                                                                                                                              -
      NYSIF Balance                                                                                                                                                                                        -
      Capital Lease Obligations                             -            -          -         -           -           -           -           -            -           -          -            -           -
      InterCompany Payable                                  -            -          -         -           -           -           -           -            -           -          -            -           -
      Deferred Tax Liability                                                                                                                                                                               -
  Total Increase (Decrease) In Liabilities                 (25.2)      (61.4)       -        (52.4)      (53.3)      (54.1)      (59.4)      (59.8)     (123.3)        2.7        2.7          2.7      (480.7)
 Total Operating Adjustments                                 3.0        43.2      104.5       68.5        67.7        90.1        95.2        94.8        43.5       173.0      173.0        173.0     1,129.6

 Investing Adjustments
  Capital Expenditures                                      -            -          -         -           -           -           -           -            -           -          -            -             -
 Total Investing Adjustments                                -            -          -         -           -           -           -           -            -           -          -            -             -

 Financing Adjustments
   Accrued Interest                                         -            -          -         -           -           -           -           -           -            -          -            -           -
   ABL Net Borrowings                                       -            -          -         -           -           -           -           -           -            -          -            -           -
   Term Loan                                                -            -          -         -           -           -           -           -           -            -          -            -           -
   Capital Lease                                            -            -          -         -           -           -           -           -           -            -          -            -           -
   Incremental Funding                                      -           51.2        -         -           -           -           -           -           -            -          -            -          51.2
   New Loans                                                -            -          -         -           -           -           -           -           -            -          -            -           -
 Total Financing Adjustments                                -           51.2        -         -           -           -           -           -           -            -          -            -          51.2
Total Cash Flow                                             3.0         94.4      104.5      68.5        67.7        90.1        95.2        94.8        43.5        173.0      173.0        173.0     1,180.9




                                                                                              HV - CF
                                                                                            A3747
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                                            12.2%
                                                     Q1-2016       Q1-2016       Q1-2016       Q2-2016       Q2-2016         Q2-2016       Q3-2016       Q3-2016       Q3-2016       Q4-2016       Q4-2016       Q4-2016
1                                      Dec-15        Jan-16         Feb-16        Mar-16        Apr-16        May-16          Jun-16        Jul-16        Aug-16        Sep-16        Oct-16        Nov-16        Dec-16


1  Petty Cash
2        Opening Balance                   2,600          2,600         2,600        2,600          2,600            2,600        2,600        2,600         2,600         2,600         2,600         2,600         2,600
 3       Adjustments
 4       Closing Balance                   2,600          2,600         2,600        2,600          2,600            2,600        2,600        2,600         2,600         2,600         2,600         2,600         2,600
 5
 6   Accounts Receivble
 7   90 Days Sales                                    2,904,856     2,904,856    2,904,856      2,941,345     2,977,834       3,014,323     3,029,775     3,045,227     3,060,678     3,076,260     3,091,842     3,107,424
 8   DSO                                                   30.0          30.0         30.0           30.0          30.0            30.0          30.0          30.0          30.0          30.0          30.0          30.0
 9         Opening Balance               942,677        942,677       968,285      968,285        968,285       980,448         992,611     1,004,774     1,009,925     1,015,076     1,020,226     1,025,420     1,030,614
10         Sales                                        968,285       968,285      968,285      1,004,774     1,004,774       1,004,774     1,020,226     1,020,226     1,020,226     1,035,808     1,035,808     1,035,808
11         Collections                                 (942,677)     (968,285)    (968,285)      (992,611)     (992,611)       (992,611)   (1,015,076)   (1,015,076)   (1,015,076)   (1,030,614)   (1,030,614)   (1,030,614)
12         Adjustments
13         Closing Balance               942,677       968,285       968,285       968,285       980,448       992,611        1,004,774     1,009,925     1,015,076     1,020,226     1,025,420     1,030,614     1,035,808
14
15 Inventory
16       Opening Balance                 170,442       170,442       170,442       170,442       170,442       170,442         170,442       170,442       170,442       170,442       170,442       170,442       170,442
17       Adjustments
18       Closing Balance                 170,442       170,442       170,442       170,442       170,442       170,442         170,442       170,442       170,442       170,442       170,442       170,442       170,442
19
20 Total Prepaid Expenses
21        Opening Balance                       -           -             -             -             -                -            -             -             -             -             -             -             -
22        Adjustments
23        Closing Balance                       -           -             -             -             -                -            -             -             -             -             -             -             -
24
25 Total PP&E (Gross)
26        Opening Balance               3,151,835     3,151,835     3,151,835    3,151,835      3,151,835     3,151,835       3,151,835     3,151,835     3,151,835     3,151,835     3,151,835     3,151,835     3,151,835
27        Adjustments
28        Closing Balance               3,151,835     3,151,835     3,151,835    3,151,835      3,151,835     3,151,835       3,151,835     3,151,835     3,151,835     3,151,835     3,151,835     3,151,835     3,151,835
29
30 Accumulted Deprecation
31      Opening Balance                (2,803,512)   (2,803,512)   (2,815,774)   (2,828,036)   (2,840,297)   (2,852,559)     (2,864,821)   (2,877,082)   (2,889,344)   (2,901,606)   (2,913,867)   (2,926,129)   (2,938,391)
32      Adjustments                                     (12,262)      (12,262)      (12,262)      (12,262)      (12,262)        (12,262)      (12,262)      (12,262)      (12,262)      (12,262)      (12,262)      (12,262)
33      Closing Balance                (2,803,512)   (2,815,774)   (2,828,036)   (2,840,297)   (2,852,559)   (2,864,821)     (2,877,082)   (2,889,344)   (2,901,606)   (2,913,867)   (2,926,129)   (2,938,391)   (2,950,652)
34
35 Total Other Assets
36        Opening Balance                       -           -             -             -             -                -            -             -             -             -             -             -             -
37        Adjustments
38        Closing Balance                       -           -             -             -             -                -            -             -             -             -             -             -             -
39
40 Goodwill
41      Opening Balance                         -           -             -             -             -                -            -             -             -             -             -             -             -
42      Adjustments
43      Closing Balance                         -           -             -             -             -                -            -             -             -             -             -             -             -
44
45        Total Assets                  1,464,041     1,477,388     1,465,126    1,452,865      1,452,766     1,452,667       1,452,569     1,445,458     1,438,346     1,431,235     1,424,168     1,417,100     1,410,032
46
47 Total Capital Lease ST Obligation
48        Opening Balance                  (4,759)       (4,759)       (4,759)       (4,759)       (4,759)       (4,759)         (4,759)       (4,759)       (4,759)       (4,759)       (4,759)       (4,759)       (4,759)
49        Adjustments
50        Closing Balance                  (4,759)       (4,759)       (4,759)       (4,759)       (4,759)       (4,759)         (4,759)       (4,759)       (4,759)       (4,759)       (4,759)       (4,759)       (4,759)
51
52   Accounts Payable
                                                        552,233       552,233      552,233        556,057       559,880         563,704       565,323       566,942       568,562      570,194       571,827       573,460
                                                          230.0         220.0        220.0          210.0         200.0           190.0         180.0         170.0         150.0        150.0         150.0         150.0
53        Opening Balance               1,436,476     1,436,476     1,411,262    1,349,902      1,349,902     1,297,465       1,244,178     1,190,042     1,130,646     1,070,891      947,603       950,324       953,045
                                                        184,078       184,078      184,078        187,901       187,901         187,901       189,521       189,521       189,521      191,153       191,153       191,153




                                                                                                    HV - BS Detail
                                                                                                    A3748
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                                               (209,292)    (245,437)    (184,078)    (240,339)     (241,188)    (242,038)    (248,916)    (249,276)    (312,809)    (188,432)    (188,432)    (188,432)
54            Adjustments
55            Closing Balance    1,436,476    1,411,262    1,349,902    1,349,902    1,297,465     1,244,178    1,190,042    1,130,646    1,070,891     947,603      950,324      953,045      955,767
56
57 Total Accrued Interest
58        Opening Balance              -            -            -            -            -              -           -            -            -            -            -            -            -
59        Adjustments
60        Closing Balance              -            -            -            -            -              -           -            -            -            -            -            -            -
61
62 LT Debt
63       Opening Balance               -            -            -            -            -              -           -            -            -            -            -            -            -
64       Adjustments
65       Closing Balance               -            -            -            -            -              -           -            -            -            -            -            -            -
66
67 Total Accrued Expense
68        Opening Balance         820,173      820,173      820,173      820,173      820,173       820,173      820,173      820,173      820,173      820,173      820,173      820,173      820,173
69        Adjustments
70        Closing Balance         820,173      820,173      820,173      820,173      820,173       820,173      820,173      820,173      820,173      820,173      820,173      820,173      820,173
71
72 Capital Lease - Obligations
73       Opening Balance               -            -            -            -            -              -           -            -            -            -            -            -            -
74       Adjustments
75       Closing Balance               -            -            -            -            -              -           -            -            -            -            -            -            -
76
77 InterCompany Payables
78       Opening Balance               -            -            -            -            -              -           -            -            -            -            -            -            -
79       Adjustments
80       Closing Balance               -            -            -            -            -              -           -            -            -            -            -            -            -
81
82 Revolver
83       Opening Balance               -            -            -            -            -              -           -            -            -            -            -            -            -
84       Adjustments
85       Closing Balance               -            -            -            -            -              -           -            -            -            -            -            -            -
86
87   Total Liabilities           2,251,889    2,226,675    2,165,316    2,165,316    2,112,879     2,059,592    2,005,455    1,946,060    1,886,304    1,763,016    1,765,737    1,768,459    1,771,180
88
89   Equity
90            Opening Balance     (787,848)    (787,848)    (787,848)    (787,848)    (787,848)     (787,848)    (787,848)    (787,848)    (787,848)    (787,848)    (787,848)    (787,848)    (787,848)
91            Adjustments
92            Closing Balance     (787,848)    (787,848)    (787,848)    (787,848)    (787,848)     (787,848)    (787,848)    (787,848)    (787,848)    (787,848)    (787,848)    (787,848)    (787,848)

     Balance                           -        38,561       87,659       75,397      127,736       180,924      234,962      287,246      339,890      456,068      446,279      436,490      426,700




                                                                                         HV - BS Detail
                                                                                         A3749
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                                               Q1           Q1         Q1           Q2      Q2       Q2      Q3      Q3      Q3     Q4      Q4      Q4
                                       Q1-2016      Q1-2016      Q1-2016    Q2-2016    Q2-2016 Q2-2016 Q3-2016 Q3-2016 Q3-2016 Q4-2016 Q4-2016 Q4-2016                  Fcst
Amounts in 000's                        Jan-16       Feb-16      Mar-16      Apr-16    May-16   Jun-16  Jul-16  Aug-16  Sep-16 Oct-16 Nov-16 Dec-16                     2016

  Service Revenue                             -            -           -          -       -          -         -         -         -         -         -         -          -
  Other Revenues                              -            -           -          -       -          -         -         -         -         -         -         -          -
   Total Operating Revenue                    -            -           -          -       -          -         -         -         -         -         -         -          -

Driver Compensation & Related                 -            -           -          -       -          -         -         -         -         -         -         -          -
Benefits                                      -            -           -          -       -          -         -         -         -         -         -         -          -
Workers Comp                                  -            -           -          -       -          -         -         -         -         -         -         -          -
COPY/DISPATCH'S Compensation                  -            -           -          -       -          -         -         -         -         -         -         -          -
Fleet Maint Compensation                      -            -           -          -       -          -         -         -         -         -         -         -          -
Repairs & Maintenance                         -            -           -          -       -          -         -         -         -         -         -         -          -
Accident Costs                                -            -           -          -       -          -         -         -         -         -         -         -          -
Fuel, Tolls & Parking Costs                   -            -           -          -       -          -         -         -         -         -         -         -          -
Medical Supplies, Rentals & Repairs           -            -           -          -       -          -         -         -         -         -         -         -          -
Communications                                -            -           -          -       -          -         -         -         -         -         -         -          -
Uniforms                                      -            -           -          -       -          -         -         -         -         -         -         -          -
Equipment                                     -            -           -          -       -          -         -         -         -         -         -         -          -
Health & Safety                               -            -           -          -       -          -         -         -         -         -         -         -          -
Licenses & Permits                            -            -           -          -       -          -         -         -         -         -         -         -          -
SUB TOTAL - COST OF SERVICE                   -            -           -          -       -          -         -         -         -         -         -         -          -

Gross Profit                                  -            -           -          -       -          -         -         -         -         -         -         -          -
GP %                                   #DIV/0!      #DIV/0!      #DIV/0!    #DIV/0!   #DIV/0!    #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!

Administrative Staffing                       -            -           -          -       -          -         -         -         -         -         -         -          -
Facility Costs                                -            -           -          -       -          -         -         -         -         -         -         -          -
Insurance Auto/Liability                      -            -           -          -       -          -         -         -         -         -         -         -          -
Professional Fees                             -            -           -          -       -          -         -         -         -         -         -         -          -
All Other SG&A                                -            -           -          -       -          -         -         -         -         -         -         -          -
Bad Debt                                      -            -           -          -       -          -         -         -         -         -         -         -          -
TOTAL OPERATING EXPENSES                      -            -           -          -       -          -         -         -         -         -         -         -          -

EBITDA                                        -            -           -          -       -          -         -         -         -         -         -         -          -    3,460.7
                                        #DIV/0!      #DIV/0!     #DIV/0!    #DIV/0!   #DIV/0!    #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!   #DIV/0!
Article 9 Process                             -            -           -          -       -          -         -         -         -         -         -         -          -
Interest Expense                              -            -           -          -       -          -         -         -         -         -         -         -          -
Capital Leases                                -            -           -          -       -          -         -         -         -         -         -         -          -
Depreciation                                  -            -           -          -       -          -         -         -         -         -         -         -          -
All Other                                     -            -           -          -       -          -         -         -         -         -         -         -          -
Income Tax                                    -            -           -          -       -          -         -         -         -         -         -         -          -
Subtotal                                      -            -           -          -       -          -         -         -         -         -         -         -          -

Net Income                                    -            -           -          -       -          -         -         -         -         -         -         -          -




                                                                                      SS - P&L
                                                                                      A3750
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            Amounts in 000's       Dec-15   Jan-16   Feb-16      Mar-16      Apr-16         May-16      Jun-16      Jul-16      Aug-16      Sep-16      Oct-16      Nov-16      Dec-16

Current Assets
  Cash and cash equivalents             -        -      100.0       100.0       100.0          100.0       100.0       100.0       100.0       100.0       100.0       100.0    1,761.3
  Patient Account Receivables           -        -        -           -           -              -           -           -           -           -           -           -          -
  Inventory                             -        -        -           -           -              -           -           -           -           -           -           -          -
  Prepaid and other curnt assets        -        -        -           -           -              -           -           -           -           -           -           -          -
Total Current Assets                    -        -      100.0       100.0       100.0          100.0       100.0       100.0       100.0       100.0       100.0       100.0    1,761.3
Property, Plant and Equipment
  Property, Plant and Equipment         -        -        -           -           -              -           -           -           -           -           -           -          -
  Accumulated Depreciation              -        -        -           -           -              -           -           -           -           -           -           -          -
Property and equipment, net             -        -        -           -           -              -           -           -           -           -           -           -          -
  Other Assets
  Goodwill                              -        -        -           -           -              -           -           -           -           -           -           -          -
  Other Assets                          -        -        -           -           -              -           -           -           -           -           -           -          -
Total Other Assets                      -        -        -           -           -              -           -           -           -           -           -           -          -
Total Assets                            -        -      100.0       100.0       100.0          100.0       100.0       100.0       100.0       100.0       100.0       100.0    1,761.3


Current Operating Liabilities
Accounts payable                        -        -        -           -           -              -           -           -           -           -           -           -          -
Accrued Management Fees                 -        -        -           -           -              -           -           -           -           -           -           -          -
NYSIF Balance                           -        -        -           -           -              -           -           -           -           -           -           -          -
Accrued expenses                        -        -        -           -           -              -           -           -           -           -           -           -          -
InterCompany Balance                    -        -        -           -           -              -           -           -           -           -           -           -          -
ABL Line                                -        -        -           -           -              -           -           -           -           -           -           -          -
   Total Current Liabilities            -        -        -           -           -              -           -           -           -           -           -           -          -

Other Long Term Liabilities
Term Loan                               -        -        -           -           -              -           -           -           -           -           -           -          -
Accrued Interest on Term Debt           -        -        -           -           -              -           -           -           -           -           -           -          -
Incremental Funding                     -        -      250.0       350.0       450.0          450.0       450.0       450.0       450.0       450.0       450.0       450.0      450.0
Capital Lease                           -        -        -           -           -              -           -           -           -           -           -           -          -
Deferred Rent Payable                   -
Deferred Tax Liability                  -
Non Current Liabilitites                -        -      250.0       350.0       450.0          450.0       450.0       450.0       450.0       450.0       450.0       450.0      450.0
Total Liabilities                       -        -      250.0       350.0       450.0          450.0       450.0       450.0       450.0       450.0       450.0       450.0      450.0

Common Equity                           -        -        -           -           -              -           -           -           -           -           -           -          -
Total Equity                            -        -        -           -           -              -           -           -           -           -           -           -          -

Total Liabilities & Net Assets          -        -     (150.0)     (250.0)     (350.0)        (350.0)     (350.0)     (350.0)     (350.0)     (350.0)     (350.0)     (350.0)     1,311




                                                                                  SS - BS
                                                                                A3751
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                                                       Q1-2016   Q1-2016     Q1-2016     Q2-2016     Q2-2016   Q2-2016   Q3-2016   Q3-2016   Q3-2016   Q4-2016   Q4-2016   Q4-2016   Fcst
Amounts in 000's                                        Jan-16   Feb-16      Mar-16       Apr-16     May-16     Jun-16    Jul-16   Aug-16    Sep-16     Oct-16   Nov-16    Dec-16    2016
Cash Flow
Net Income                                                  -      (150.0)     (100.0)     (100.0)       -         -         -         -         -         -         -          -     (350.0)
Total Adjustments                                                                                                                                                                        -
 Adjustment to reconcile to net income                                                                                                                                                   -
      Note Payable to Parent                                                                                                                                                             -
      Non Cash Equity Infusion                                                                                                                                                           -
      Amortization of deferred financing fees                                                                                                                                            -
      Provision for doubtful accounts                       -         -           -           -          -         -         -         -         -         -         -          -        -
      Depreciation and amortization                         -         -           -           -          -         -         -         -         -         -         -          -        -
      Deferred rent                                         -         -           -           -          -         -         -         -         -         -         -          -        -
 Total Adjustment to reconcile to net income                -      (150.0)     (100.0)     (100.0)       -         -         -         -         -         -         -          -     (350.0)
 Operating Adjustments
  (Increase) Decrease in Assets
    Accounts Receivable                                     -         -           -           -          -         -         -         -         -         -         -          -           -
      Inventory                                             -         -           -           -          -         -         -         -         -         -         -          -           -
      Prepaid Expenses and Other                            -         -           -           -          -         -         -         -         -         -         -          -           -
      Other Long-Term Assets                                -         -           -           -          -         -         -         -         -         -         -          -           -
  Total (Increase) Decrease in Assets                       -         -           -           -          -         -         -         -         -         -         -          -           -
  Increase (Decrease) In Liabilities
      A/P and Accrued Expenses                              -         -           -           -          -         -         -         -         -         -         -          -        -
      Accrued Management Fees                                                                                                                                                            -
      NYSIF Balance                                                                                                                                                                      -
      Capital Lease Obligations                                                                                                                                                          -
      InterCompany Payable                                  -         -           -           -          -         -         -         -         -         -         -          -        -
      Deferred Tax Liability                                                                                                                                                             -
  Total Increase (Decrease) In Liabilities                  -         -           -           -          -         -         -         -         -         -         -          -        -
 Total Operating Adjustments                                -      (150.0)     (100.0)     (100.0)       -         -         -         -         -         -         -          -     (350.0)

 Investing Adjustments
  Capital Expenditures                                      -         -           -           -          -         -         -         -         -         -         -          -           -
 Total Investing Adjustments                                -         -           -           -          -         -         -         -         -         -         -          -           -

 Financing Adjustments
   Accrued Interest                                         -         -          -           -           -         -         -         -         -         -         -          -        -
   ABL Net Borrowings                                       -         -          -           -           -         -         -         -         -         -         -          -        -
   Term Loan                                                -         -          -           -           -         -         -         -         -         -         -          -        -
   Capital Lease                                            -         -          -           -           -         -         -         -         -         -         -          -        -
   Incremental Funding                                      -       250.0      100.0       100.0         -         -         -         -         -         -         -          -      450.0
   New Loans                                                -         -          -           -           -         -         -         -         -         -         -          -        -
 Total Financing Adjustments                                -       250.0      100.0       100.0         -         -         -         -         -         -         -          -      450.0
Total Cash Flow                                             -       100.0        -           -           -         -         -         -         -         -         -          -      100.0




                                                                                             SS - CF
                                                                                           A3752
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                                                 2016              2016              2016             2016            2016          2016          2016           2016          2016          2016          2016          2016
                                                Q1-2016           Q1-2016           Q1-2016          Q2-2016         Q2-2016       Q2-2016       Q3-2016        Q3-2016       Q3-2016       Q4-2016       Q4-2016       Q4-2016
Days Per Month                                               32                28            29                29             31            29             31            31            29            31            29            31
                                                Jan-16            Feb-16            Mar-16            Apr-16         May-16        Jun-16         Jul-16        Aug-16        Sep-16        Oct-16        Nov-16        Dec-16
Beginning Cash Balance                                   -               -               100.0             100.0         100.0          100.0          100.0        100.0          100.0         100.0        100.0          100.0
Net Cash Flow                                            -            (150.0)           (100.0)           (100.0)           -             -              -             -             -             -             -             -
Projected Ending Cash Flow                               -            (150.0)              -                 -           100.0          100.0          100.0        100.0          100.0         100.0        100.0          100.0

Minimum Cash Balance                                                  100.0              100.0               100.0        100.0        100.0          100.0         100.0          100.0        100.0         100.0         100.0

Projected Funding Requirement                                         250.0              100.0               100.0          -             -             -              -                -          -             -             -


Term Loan A
Opening                                                  -                 -                  -                -            -             -             -              -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -             -             -              -                -          -             -             -

Term Loan B
Opening                                                  -                 -                  -                -            -             -             -              -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -             -             -              -                -          -             -             -

Term Loan D
Opening                                                  -                 -                  -                -            -             -             -              -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -             -             -              -                -          -             -             -

Term Loan E
Opening                                                  -                 -                  -                -            -             -             -              -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -             -             -              -                -          -             -             -

Term Loan F
Opening                                                  -                 -                  -                -            -             -             -              -                -          -             -             -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                         -                 -                  -                -            -             -             -              -                -          -             -             -




                                                                                                   SS - DS
                                                                                                  A3753
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Revolving Credit A
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan G
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -


Total Term Loans
Opening                                             -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -


Term Loan A
Opening                                     12.0%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan B
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan D
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -

Term Loan E
Opening                                      2.5%   -    -      -              -   -   -   -   -      -   -   -   -
      Interest Expense                              -    -      -              -   -   -   -   -      -   -   -   -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                    -    -      -              -   -   -   -   -      -   -   -   -




                                                                     SS - DS
                                                                    A3754
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Term Loan F
Opening                                     2.5%   -      -       -                 -       -       -       -       -       -       -       -       -
      Interest Expense                             -      -       -                 -       -       -       -       -       -       -       -       -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -      -       -                 -       -       -       -       -       -       -       -       -

Term Loan H
Opening                                     2.5%   -      -       -                 -       -       -       -       -       -       -       -       -
      Interest Expense                             -      -       -                 -       -       -       -       -       -       -       -       -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -      -       -                 -       -       -       -       -       -       -       -       -

Wells Fargo Interest
Opening                                     0.0%
      Interest Expense                             -      -       -                 -       -       -       -       -       -       -       -       -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -      -       -                 -       -       -       -       -       -       -       -       -

Total Interest on Loans Loans
Opening                                            -      -       -                 -       -       -       -       -       -       -       -       -
      Total Interest Expense                       -      -       -                 -       -       -       -       -       -       -       -       -

      Interest Payments
      Adjustments
Accured Interest                                   -      -       -                 -       -       -       -       -       -       -       -       -

New Funding Requirement
Opening                                            -      -     250.0             350.0   450.0   450.0   450.0   450.0   450.0   450.0   450.0   450.0
      Funding Requests                             -    250.0   100.0             100.0     -       -       -       -       -       -       -       -
      Reclass to Deferred Interest
      Principal Repayments
      Adjustments
Senior Bank Debt                                   -    250.0   350.0             450.0   450.0   450.0   450.0   450.0   450.0   450.0   450.0   450.0


Borrowing Base
Net AR

Borrowing Base                                     -      -       -                 -       -       -       -       -       -       -       -       -




                                                                        SS - DS
                                                                      A3755
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INDIRECT COSTS                                                                                                           Growth Assumptions
                                                                                                             Q1      Q2       Q3      Q4
Administrative Staffing    -      -         -         -      -   -   -             -     -   -   -   -   -    0.0%    2.0%     5.0%     2.0%
Facility Costs             -      -         -         -      -   -   -             -     -   -   -   -   -    0.0%    2.0%     2.0%    2.0%
Insurance Auto/Liability   -      -         -         -      -   -   -             -     -   -   -   -   -    0.0%    2.0%     2.0%    2.0%
Professional Fees          -      -         -         -      -   -   -             -     -   -   -   -   -    0.0%    4.0%     4.0%    4.0%
All Other SG&A             -      -         -         -      -   -   -             -     -   -   -   -   -    0.0%    2.0%     5.0%    5.0%
Bad Debt                   -      -         -         -      -   -   -             -     -   -   -   -   -    0.0%    2.0%     2.0%    2.0%
TOTAL OPERATING EXPENSES   -      -         -         -      -   -   -             -     -   -   -   -   -

Operating EBITDA           -     -          -        -       -   -   -             -     -   -   -   -   -
Bankruptcy Costs               150.0      100.0    100.0     -   -   -             -
Depreciation                                                     -   -             -     -   -   -   -   -

Net Income                 -   (150.0)   (100.0)   (100.0)   -   -   -             -     -   -   -   -   -




                                                                         SharedService
                                                                         A3756
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                                            31.5%
                                                    Q1-2016   Q1-2016   Q1-2016   Q2-2016     Q2-2016      Q2-2016   Q3-2016   Q3-2016   Q3-2016   Q4-2016   Q4-2016   Q4-2016   Fcst
1                                      Dec-15       Jan-16     Feb-16    Mar-16    Apr-16      May-16       Jun-16    Jul-16    Aug-16    Sep-16    Oct-16    Nov-16    Dec-16


1 Petty Cash
2       Opening Balance                         -         -         -         -         -              -         -         -         -         -         -         -         -
3       Adjustments                             -         -                   -         -              -         -         -         -         -         -         -         -
4       Closing Balance                         -         -         -         -         -              -         -         -         -         -         -         -         -
5
6 Accounts Receivble
7      Opening Balance                          -         -         -         -         -              -         -         -         -         -         -         -         -
8      Adjustments
9      Closing Balance                          -         -         -         -         -              -         -         -         -         -         -         -         -
10
11 Inventory
12       Opening Balance                        -         -         -         -         -              -         -         -         -         -         -         -         -
13       Adjustments
14       Closing Balance                        -         -         -         -         -              -         -         -         -         -         -         -         -
15
16 Total Prepaid Expenses
17        Opening Balance                       -         -         -         -         -              -         -         -         -         -         -         -         -
18        Adjustments
19        Closing Balance                       -         -         -         -         -              -         -         -         -         -         -         -         -
20
21 Total PP&E (Gross)
22        Opening Balance                       -         -         -         -         -              -         -         -         -         -         -         -         -
23        Adjustments
24        Closing Balance                       -         -         -         -         -              -         -         -         -         -         -         -         -
25
26 Accumulted Deprecation
27      Opening Balance                         -         -         -         -         -              -         -         -         -         -         -         -         -
28      Adjustments
29      Closing Balance                         -         -         -         -         -              -         -         -         -         -         -         -         -
30
31 Total Other Assets
32        Opening Balance                       -         -         -         -         -              -         -         -         -         -         -         -         -
33        Adjustments
34        Closing Balance                       -         -         -         -         -              -         -         -         -         -         -         -         -
35
36 Goodwill
37      Opening Balance                         -         -         -         -         -              -         -         -         -         -         -         -         -
38      Adjustments
39      Closing Balance                         -         -         -         -         -              -         -         -         -         -         -         -         -
40
41       Total Assets                           -         -         -         -         -              -         -         -         -         -         -         -         -
42
43 Total Capital Lease ST Obligation
44        Opening Balance                       -         -         -         -         -              -         -         -         -         -         -         -         -
45        Adjustments
46        Closing Balance                       -         -         -         -         -              -         -         -         -         -         -         -         -
47




                                                                                      SS - BS Detail
                                                                                       A3757
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48 Accounts Payable
49      Opening Balance            -       -     -     -      -               -   -   -   -   -   -   -   -
50      Adjustments
51      Closing Balance            -       -     -     -      -               -   -   -   -   -   -   -   -
52
53 Total Accrued Interest
54        Opening Balance          -       -     -     -      -               -   -   -   -   -   -   -   -
55        Adjustments
56        Closing Balance          -       -     -     -      -               -   -   -   -   -   -   -   -
57
58 LT Debt
59       Opening Balance           -       -     -     -      -               -   -   -   -   -   -   -   -
60       Adjustments
61       Closing Balance           -       -     -     -      -               -   -   -   -   -   -   -   -
62
63 Total Accrued Expense
64        Opening Balance          -       -     -     -      -               -   -   -   -   -   -   -   -
65        Adjustments
66        Closing Balance          -       -     -     -      -               -   -   -   -   -   -   -   -
67
68 Capital Lease - Obligations
69       Opening Balance           -       -     -     -      -               -   -   -   -   -   -   -   -
70       Adjustments
71       Closing Balance           -       -     -     -      -               -   -   -   -   -   -   -   -
72
73 InterCompany Payables
74       Opening Balance           -       -     -     -      -               -   -   -   -   -   -   -   -
75       Adjustments
76       Closing Balance           -       -     -     -      -               -   -   -   -   -   -   -   -
77
78 Revolver
79       Opening Balance           -       -     -     -      -               -   -   -   -   -   -   -   -
80       Adjustments
81       Closing Balance           -       -     -     -      -               -   -   -   -   -   -   -   -
82
83   Total Liabilities             -       -     -     -      -               -   -   -   -   -   -   -   -
84
85   Equity
86            Opening Balance      -       -     -     -      -               -   -   -   -   -   -   -   -
87            Adjustments
88            Closing Balance      -       -     -     -      -               -   -   -   -   -   -   -   -

     Balance                       -       -     -     -      -               -   -   -   -   -   -   -   -




                                                             SS - BS Detail
                                                             A3758
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